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                   EXHIBIT A
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   Review of Medical Care – Riverside County Jails, July 15, 2015 – S. Allen, MD 1	  

   Review	  of	  Riverside	  County	  Jail	  Medical	  Services	  
   	  
   Scott	  A.	  Allen,	  MD	  
   	  
   Introduction	  
   	  
   I	  have	  been	  asked	  jointly	  by	  counsel	  representing	  the	  County	  of	  Riverside	  and	  
   counsel	  representing	  plaintiffs	  in	  the	  matter	  of	  Gray	  v.	  County	  of	  Riverside	  to	  
   provide	  an	  independent	  assessment	  of	  the	  medical	  care	  provided	  by	  the	  County	  in	  
   its	  jail	  system	  and	  to	  make	  recommendations	  as	  indicated	  as	  part	  of	  an	  alternative	  
   resolution	  process.	  
   	  
   In	  my	  task,	  I	  am	  pleased	  to	  report	  that	  I	  received	  the	  full	  cooperation	  of	  the	  staff	  of	  
   the	  Riverside	  County	  Sheriff’s	  Department	  and	  County	  medical	  staff,	  both	  in	  
   Corrections	  Health	  Service	  and	  at	  the	  Riverside	  University	  Medical	  Center	  (RUMC,	  
   formerly	  Riverside	  County	  Regional	  Medical	  Center	  or	  RCRMC).	  	  In	  particular,	  I	  wish	  
   to	  thank	  Lieutenants	  Maurice	  LeClair	  and	  Hal	  Reed,	  as	  well	  as	  Correctional	  Health	  
   Services	  (CHS)	  Administrator	  William	  Wilson,	  CHS	  Medical	  Director	  Dr.	  Victor	  Laus	  
   and	  RUMC	  Medical	  Director	  Dr.	  Arnold	  Tabuenca,	  as	  well	  as	  nursing	  supervisors	  
   Stillwell,	  Reeves,	  Adewunmi	  and	  Redler	  for	  their	  flexibility	  and	  cooperation	  during	  
   my	  investigation.	  
   	  
   	  
   Expert	  Qualifications	  
   	  
   I	  am	  a	  physician	  licensed	  in	  the	  state	  of	  California.	  	  I	  am	  board	  certified	  in	  Internal	  
   Medicine	  and	  am	  a	  Fellow	  of	  the	  American	  College	  of	  Physicians.	  I	  am	  a	  Professor	  of	  
   Clinical	  Medicine	  and	  Associate	  Dean	  of	  Academic	  Affairs	  at	  the	  University	  of	  
   California	  Riverside	  School	  of	  Medicine.	  
   	  
   I	  have	  been	  a	  physician	  since	  1991.	  	  I	  have	  worked	  in	  the	  field	  of	  correctional	  health	  
   care	  for	  the	  past	  17	  years.	  	  From	  1997	  to	  2004,	  I	  was	  a	  full	  time	  correctional	  
   physician	  for	  the	  Rhode	  Island	  Department	  of	  Corrections;	  for	  the	  final	  three	  years	  I	  
   served	  as	  the	  State	  Medical	  Program	  Director	  for	  the	  department	  where	  I	  oversaw	  
   all	  medical	  care	  for	  the	  State	  of	  Rhode	  Island	  prisons	  and	  jails	  for	  both	  men	  and	  
   women,	  including	  medical,	  psychiatric	  and	  dental	  services.	  	  From	  2005	  to	  2011,	  I	  
   worked	  full	  time	  in	  the	  Eleanor	  Slater	  Hospital,	  the	  state	  psychiatric	  hospital,	  on	  
   secured	  units	  caring	  for	  patients	  that	  included	  both	  sentenced	  and	  forensic	  
   populations.	  	  I	  am	  a	  member	  of	  the	  Society	  of	  Correctional	  Physicians	  and	  a	  Fellow	  
   of	  the	  American	  College	  of	  Physicians.	  
                   	  
   I	  have	  written	  and	  published	  over	  twenty	  peer-­‐reviewed	  papers	  in	  academic	  
   journals	  related	  to	  prison	  health	  care	  and	  am	  on	  the	  editorial	  board	  of	  the	  
   International	  Journal	  of	  Prisoner	  Health	  Care.	  	  	  I	  have	  served	  as	  an	  independent	  
   expert	  to	  the	  Federal	  Court	  on	  standards	  of	  hepatitis	  C	  management	  in	  prisons,	  and	  
   have	  served	  as	  a	  plaintiff’s	  expert	  in	  a	  number	  correctional	  health	  cases.	  I	  have	  
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   consulted	  on	  detention	  health	  issues	  both	  domestically	  and	  internationally	  for	  the	  
   Open	  Society	  Institute	  and	  the	  International	  Committee	  of	  the	  Red	  Cross	  and	  
   domestically	  for	  the	  Department	  of	  Homeland	  Security	  among	  others.	  I	  have	  worked	  
   with	  the	  Institute	  of	  Medicine	  on	  several	  workshops	  related	  to	  detainee	  healthcare.	  	  
   I	  co-­‐founded	  and	  am	  co-­‐director	  of	  the	  Center	  for	  Prisoner	  Health	  and	  Human	  Rights	  
   at	  Brown	  University	  and	  co-­‐investigator	  for	  the	  University	  of	  California	  Criminal	  
   Justice	  and	  Health	  Care	  Consortium.	  
   	  
   A	  more	  detailed	  listing	  of	  my	  experience	  in	  correctional	  health	  care,	  my	  
   participation	  in	  the	  development	  of	  national	  correctional	  policy	  and	  standards,	  my	  
   experiences	  as	  a	  consultant	  and	  expert	  witness,	  and	  a	  list	  of	  my	  publications	  are	  
   included	  in	  my	  curriculum	  vitae,	  which	  has	  been	  provided	  to	  counsel	  for	  the	  
   plaintiffs	  and	  the	  County.	  
   	  
   I	  am	  familiar	  with	  the	  degree	  of	  care	  and	  skill	  ordinarily	  exercised	  by	  members	  of	  
   the	  medical	  and	  behavioral	  health	  professions	  involving	  the	  care	  and	  treatment	  of	  
   inmates	  and	  pre-­‐trial	  detainees	  in	  correctional	  facilities.	  
   	  
   Standards	  
   	  
   While	  it	  is	  understood	  that	  the	  Riverside	  County	  Jail	  is	  not	  currently	  accredited	  by	  
   the	  National	  Commission	  on	  Correctional	  Health	  Care	  (NCCHC),	  the	  Standards	  for	  
   Services	  in	  Jails	  (2014	  Ed.)	  provides	  a	  useful	  benchmark	  for	  minimum	  standards	  for	  
   jail	  health	  services	  in	  the	  Unites	  States,	  and	  I	  will	  refer	  to	  those	  standards	  in	  this	  
   report.1	  
   	  
   In	  addition	  to	  the	  NCCHC	  standards,	  I	  will	  make	  reference	  in	  this	  report	  to	  
   community	  medical	  standards.	  	  While	  the	  acceptable	  clinical	  practice	  of	  medicine	  
   allows	  for	  a	  wide	  variety	  of	  approaches	  to	  practice,	  community	  medical	  standards	  
   are	  the	  point	  in	  which	  the	  greater	  body	  of	  experts	  and	  practitioners	  in	  the	  field	  have	  
   found	  agreement	  and	  are	  established	  by	  the	  standard	  of	  care	  accepted	  by	  the	  
   community	  at	  large.	  	  
   	  
   Broadly	  speaking,	  a	  community	  medical	  standard	  has	  been	  established	  which	  has	  
   already	  taken	  into	  consideration	  all	  points	  of	  view	  and	  evidence,	  and	  that	  is	  what	  I	  
   will	  use	  as	  a	  standard	  for	  care.	  	  There	  is	  no	  separate	  or	  unequal	  standard	  of	  care	  for	  
   inmates	  of	  correctional	  institutions;	  there	  are	  merely	  logistical	  challenges	  and	  
   reasonable	  accommodations	  and	  modifications	  of	  standard	  medical	  approaches	  that	  
   are	  a	  direct	  result	  of	  the	  constraints	  of	  confinement	  settings.	  	  Those	  exceptions	  and	  
   accommodations	  to	  security	  needs	  should	  be	  absolutely	  minimal	  and	  rarely	  
   interrupt	  and	  never	  prevent	  essential	  healthcare	  delivery.	  	  To	  the	  extent	  that	  
   providing	  medical	  care	  in	  a	  correctional	  setting	  raises	  some	  unique	  challenges,	  I	  
   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   1	  When	  I	  cite	  the	  2014	  NCCHC	  Standards	  for	  Health	  Services	  in	  Jails,	  the	  standard	  is	  

   in	  the	  following	  format:	  	  the	  letter	  “J”	  followed	  by	  letter	  “A”	  through	  “I”	  and	  a	  
   number.	  	  For	  example,	  the	  standard	  for	  Receiving	  Screening	  is	  J-­‐E-­‐02.	  
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   draw	  on	  my	  knowledge	  of	  standards	  and	  practices	  as	  a	  physician	  experienced	  in	  
   correctional	  healthcare	  and	  familiar	  with	  standards	  of	  the	  field.	  
   	  
   In	  general,	  when	  I	  refer	  to	  minimal	  community	  standards,	  I	  refer	  to	  services	  a	  
   patient	  with	  Medicaid	  coverage	  would	  likely	  be	  eligible	  to	  receive	  in	  a	  community	  
   health	  center	  or	  similar	  setting,	  recognizing	  that	  inmates	  are	  not	  constitutionally	  
   entitled	  to	  the	  most	  sophisticated	  care	  money	  can	  by,	  but	  to	  adequate	  medical	  care.	  	  
   	  
   Finally,	  when	  I	  do	  make	  reference	  to	  constitutional	  standards	  to	  health	  care	  (based	  
   on	  the	  Eighth	  Amendment	  prohibition	  on	  cruel	  and	  unusual	  punishment),	  I	  do	  so	  
   not	  as	  a	  lawyer	  (which	  I	  clearly	  am	  not)	  but	  as	  a	  physician	  with	  extensive	  experience	  
   in	  actually	  providing	  that	  level	  of	  care	  in	  jails	  and	  prisons	  and	  in	  helping	  the	  courts	  
   to	  define	  that	  standard	  in	  practical	  terms.	  
   	  
   	  
   Methods	  
   	  
   My	  investigation	  of	  the	  medical	  services	  at	  the	  Riverside	  County	  Jail	  involved	  the	  
   following	  methods:	  	  
   	  
          1) Site	  Visits:	  	  In	  the	  course	  of	  my	  review	  of	  medical	  services	  in	  the	  county	  jails,	  I	  
                have	  personally	  visited	  all	  five	  jail	  facilities	  at	  least	  once	  and	  two	  facilities	  
                (Robert	  Presley	  and	  Southwest)	  twice.	  
                	  
          2) Record	  Reviews:	  	  I	  have	  reviewed	  selected	  medical	  records	  and	  medication	  
                administration	  records	  at	  all	  five	  sites.	  	  Records	  typically	  were	  selected	  
                because	  the	  inmate	  had	  a	  chronic	  medical	  condition	  or	  had	  been	  recently	  
                seen	  by	  medical	  staff.	  
   	  
          3) Staff	  Interviews:	  	  During	  all	  site	  visits	  I	  had	  the	  opportunity	  to	  conduct	  staff	  
                interviews.	  	  During	  the	  course	  of	  my	  investigation,	  I	  had	  opportunities	  to	  
                question	  the	  RUMC	  Medical	  Director	  Arnold	  Tabuenca,	  MD,	  Correctional	  
                Health	  Services	  (CHS)	  Administrator	  William	  Wilson,	  the	  CHS	  Medical	  
                Director	  Victor	  Laus,	  MD,	  nurses	  supervisors	  at	  all	  of	  the	  facilities	  as	  well	  as	  
                physicians	  and	  nurses	  at	  various	  sites.	  	  In	  addition,	  I	  had	  the	  opportunity	  to	  
                speak	  with	  a	  number	  of	  Sheriff’s	  Deputies	  about	  the	  interface	  of	  security	  with	  
                the	  health	  care	  operations.	  
   	  
          4) Inmate	  Interviews:	  	  I	  interviewed	  a	  sampling	  of	  inmates	  at	  all	  five	  facilities.	  	  In	  
                total,	  I	  conducted	  private	  one-­‐on-­‐one	  interviews	  with	  over	  fifty	  individual	  
                inmates.	  	  In	  addition,	  I	  conducted	  some	  brief	  interviews	  with	  a	  number	  of	  
                inmates	  in	  segregation	  at	  their	  cell	  doors	  in	  the	  housing	  unit.	  
   	  
          5) Document	  Review:	  	  I	  reviewed	  numerous	  documents	  provided	  by	  the	  parties	  
                relating	  to	  the	  health	  services	  at	  the	  Riverside	  County	  Jail.	  	  In	  addition	  to	  the	  
                comments	  provided,	  I	  also	  reviewed	  publicly	  available	  documents	  including	  
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              the	  2011	  Grand	  Jury	  Report,	  the	  2011	  IQM	  report	  and	  the	  Riverside	  County	  
              budget.	  
   	  
   Background	  of	  Medical	  Services	  at	  Riverside	  County	  Jail	  
   	  
   Impact	  of	  budget	  cuts	  to	  jail	  health	  care	  services:	  
   	  
   According	  to	  Sheriff	  Sniff’s	  July	  15,	  2011	  response	  to	  the	  2010-­‐2011	  Grand	  Jury	  
   Report,	  “…beginning	  fiscal	  year	  2008/2009,	  the	  conflict	  between	  legal	  responsibility	  
   and	  practical	  authority	  resulted	  in	  deep	  cuts	  to	  medical	  personnel	  staffing	  levels,	  
   without	  consideration	  for	  how	  those	  cuts	  affected	  the	  respondent’s	  (the	  Sheriff’s	  
   Department)	  ability	  to	  fulfill	  the	  legal	  responsibility.”	  	  [Emphasis	  added].	  	  	  Sheriff	  Sniff	  
   then	  went	  on	  to	  report	  that:	  
   	  
              	             …	  the	  budget	  and	  medical	  personnel	  staffing	  cuts	  beginning	  fiscal	  year	  
              2008/2009	  unacceptably	  impacted	  the	  delivery	  of	  medical	  services,	  and	  
              unacceptably	  impacted	  other	  jail	  operations	  as	  well.	  	  To	  confirm	  and	  
              accurately	  assess	  the	  extent	  of	  this	  impact,	  the	  respondent	  requested	  
              evaluations	  from	  the	  Corrections	  Standards	  Authority	  (CSA)	  and	  the	  Institute	  
              for	  Medical	  Quality	  (IMQ).	  	  Both	  CSA	  and	  IMQ	  found	  that	  emergency	  and	  
              basic	  medical	  services	  were	  not	  being	  delivered	  within	  the	  intent	  of	  the	  CCR	  
              Title	  15	  Minimum	  Standards	  for	  Local	  Detention	  Facilities.	  	  
   	  
   According	  to	  the	  2011	  IMQ	  assessment,	  as	  of	  January	  2011,	  the	  detention	  health	  
   staff	  experienced	  a	  44%	  reduction	  in	  staff	  due	  to	  budget	  cuts.	  	  My	  own	  interviews	  
   with	  administrators	  and	  physicians	  confirmed	  that	  the	  2008/2009	  budget	  
   directives	  devastated	  medical	  staffing.	  	  In	  the	  case	  of	  the	  physicians,	  staffing	  went	  
   from	  five	  physicians	  (including	  Dr.	  Laus,	  the	  medical	  director	  and	  four	  other	  
   physicians)	  to	  three.	  	  However,	  in	  the	  face	  of	  almost	  doubled	  workloads,	  two	  of	  the	  
   remaining	  physicians	  resigned.	  	  In	  spite	  of	  efforts	  to	  find	  replacements,	  the	  County	  
   was	  unable	  to	  fill	  those	  vacancies,	  and	  for	  a	  period	  of	  roughly	  two	  years,	  one	  
   physician,	  Dr.	  Laus,	  remained	  to	  provide	  health	  care	  to	  all	  five	  adult	  facilities	  from	  
   Blythe	  to	  Temecula.	  	  Nursing	  staff	  was	  similarly	  devastated,	  resulting	  in	  only	  one	  
   facility	  out	  of	  the	  five	  with	  continuing	  24/7	  health	  coverage.	  	  To	  put	  this	  in	  
   perspective,	  this	  reduced	  staffing	  was	  asked	  to	  provide	  adequate	  care	  across	  five	  
   geographically	  spread	  facilities	  with	  an	  average	  daily	  population	  of	  over	  3700,	  and	  
   annual	  admissions	  numbering	  nearly	  sixty	  thousand	  in	  2014.	  
   	  
   The	  2011	  IMQ	  consultants	  also	  noted	  a	  rise	  in	  court	  orders	  directing	  the	  department	  
   to	  address	  unmet	  health	  needs	  of	  inmates	  appearing	  before	  the	  court	  as	  part	  of	  their	  
   routine	  criminal	  proceedings.	  	  My	  finding	  confirms	  that	  some	  four	  years	  later,	  the	  
   courts	  continue	  to	  issue	  numerous	  orders	  to	  the	  department	  to	  address	  unmet	  
   health	  needs	  of	  inmates.	  	  Court	  orders	  relating	  to	  health	  care	  have	  been	  in	  excess	  of	  
   150	  per	  month	  as	  recently	  as	  the	  first	  quarter	  of	  this	  year.	  	  This	  is	  an	  extraordinary	  
   finding,	  and	  documents	  a	  lack	  of	  faith	  by	  the	  courts	  in	  the	  County’s	  ability	  to	  meet	  its	  
   statutory	  and	  constitutional	  obligations	  for	  the	  provision	  of	  health	  care	  to	  county	  
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   inmates.	  	  As	  noted	  by	  IMQ	  in	  2011,	  such	  court	  orders	  “should	  be	  rare	  and	  only	  seen	  
   under	  unusual	  circumstances.”	  	  In	  my	  experience,	  I	  have	  never	  seen	  such	  a	  high	  
   number	  of	  court	  orders	  directed	  at	  a	  correctional	  healthcare	  program.	  
   	  
   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   Inter-­‐departmental	  Issues	  
   	  
   The	  provision	  of	  health	  care	  in	  Riverside	  County	  Jails	  is	  complicated	  by	  evolving	  
   relationships	  between	  County	  departments	  –	  specifically	  the	  Sheriff’s	  Department	  
   and	  the	  County	  Hospital	  (Riverside	  University	  Medical	  Center	  –	  previously	  known	  as	  
   Riverside	  County	  Regional	  Medical	  Center).	  	  In	  response	  to	  the	  confused	  lines	  of	  
   authority	  noted	  in	  the	  grand	  jury	  reports,	  a	  MOU	  was	  drafted	  and	  signed	  outlining	  
   the	  responsibilities	  and	  expectations	  of	  each	  department	  in	  the	  provision	  of	  care.	  
   	  
   However,	  in	  my	  interviews	  with	  key	  personnel	  and	  administrators	  from	  both	  
   departments,	  I	  found	  that	  some	  confusion	  remains	  in	  relation	  to	  budgeting	  for	  
   services	  provided.	  	  By	  the	  end	  of	  my	  investigation,	  it	  was	  not	  clear	  to	  me	  that	  the	  
   County	  has	  resolved	  what	  I	  would	  call	  perverse	  economic	  incentives	  for	  the	  
   individual	  departments	  that	  could	  lead	  to	  inappropriate	  or	  costly	  care	  by	  one	  
   department	  on	  the	  one	  hand	  or	  could	  lead	  to	  limited	  access	  to	  care	  by	  the	  other	  
   department	  on	  the	  other	  hand.	  	  	  
   	  
   For	  example,	  it	  was	  the	  belief	  of	  the	  County	  hospital	  administration	  that	  RUMC	  is	  
   budgeted	  for	  a	  fixed	  amount	  to	  provide	  inpatient	  and	  consultation	  medical	  care.	  	  
   This	  at	  least	  theoretically	  creates	  an	  incentive	  for	  the	  Sheriff	  to	  shift	  care	  to	  the	  
   higher	  cost	  setting	  by	  pressing	  to	  send	  inmates	  to	  hospital	  earlier	  than	  clinically	  
   indicated	  and	  keep	  them	  in	  hospital	  longer	  than	  clinically	  indicated	  as	  hospital	  care	  
   does	  not	  cost	  the	  Sheriff	  any	  additional	  funds.	  	  At	  the	  same	  time,	  the	  hospital	  may	  
   feel	  pressure	  to	  discharge	  inmate	  patients	  prematurely	  as	  each	  day	  results	  in	  
   additional	  costs	  that	  cannot	  be	  recouped.	  	  It	  is	  important	  to	  be	  clear	  that	  I	  see	  no	  
   evidence	  that	  either	  department	  has	  actually	  yielded	  to	  these	  real	  or	  perceived	  
   perverse	  fiscal	  pressures,	  but	  if	  these	  perceptions	  are	  indeed	  based	  on	  reality,	  
   budgeting	  should	  be	  reviewed	  in	  order	  to	  mitigate	  these	  perverse	  incentives	  so	  that	  
   decisions	  regarding	  the	  appropriate	  level	  of	  care	  and	  setting	  are	  not	  unduly	  
   influenced	  by	  them	  and	  the	  appropriate	  agencies	  are	  adequately	  funded	  for	  any	  care	  
   they	  provide.	  	  While	  in	  the	  end,	  this	  is	  all	  County	  money,	  I	  am	  trying	  to	  draw	  
   attention	  to	  an	  arrangement	  that	  might	  actually	  be	  driving	  overall	  costs	  to	  the	  
   County	  to	  a	  higher	  level	  than	  they	  need	  to	  be	  while	  at	  the	  same	  time	  creating	  
   unnecessary	  liability	  risks.	  	  	  
   	                                                    	  
   Challenges	  of	  Realignment	  
   	  
   California	  is	  currently	  undergoing	  a	  historic	  reform	  of	  incarceration	  practices	  
   largely	  driven	  by	  litigation.	  	  Sweeping	  changes	  have	  resulted,	  including	  AB	  109,	  also	  
   known	  as	  “realignment,”	  legislation	  crafted	  in	  an	  effort	  to	  deal	  with	  state	  prison	  
   overcrowding	  among	  other	  concerns.	  	  As	  a	  result	  of	  realignment,	  county	  jails	  across	  
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   the	  state	  now	  face	  significant	  new	  and	  previously	  unanticipated	  challenges.	  In	  
   addition	  to	  being	  asked	  to	  accommodate	  higher	  numbers	  of	  inmates	  who	  
   historically	  would	  have	  been	  held	  in	  the	  custody	  of	  the	  state	  in	  state	  prisons,	  jail	  
   facilities	  are	  being	  asked	  to	  provide	  what	  essentially	  is	  prison	  care	  in	  facilities	  that	  
   were	  designed	  as	  jails.	  	  Jails	  historically	  house	  inmates	  for	  shorter	  periods	  of	  time.	  	  
   The	  new	  AB	  109	  inmates	  will	  typically	  serve	  much	  longer	  terms	  in	  the	  county	  jails,	  
   terms	  ranging	  from	  months	  to	  years.	  
   	  
   This	  change	  has	  consequences	  for	  both	  the	  conditions	  of	  confinement,	  
   programming,	  educational	  and	  work	  opportunities.	  	  But	  it	  also	  has	  consequences	  for	  
   health	  care.	  Realignment	  has	  created	  a	  host	  of	  new	  challenges	  to	  county	  jails	  and	  
   placed	  increased	  burdens	  on	  the	  provision	  of	  health	  care	  in	  a	  system	  that	  was	  
   designed	  around	  short	  stays,	  but	  now	  has	  a	  significant	  sub-­‐population	  that	  can	  be	  
   expected	  to	  be	  confined	  to	  the	  county	  facilities	  for	  months	  or	  even	  years.	  
   	                                               	  
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   Overall	  Findings	  
   	  
   The	  current	  level	  of	  care	  in	  the	  Riverside	  County	  Jails	  is	  inadequate,	  poses	  a	  
   significant	  risk	  of	  serious	  harm	  to	  inmates	  confined	  there	  and	  in	  the	  opinion	  of	  this	  
   expert	  does	  not	  meet	  minimal	  constitutional	  standards.	  	  	  
   	  
   The	  inadequacy	  of	  the	  current	  health	  system	  can	  be	  almost	  entirely	  attributed	  to	  
   two	  factors:	  1)	  inadequate	  financial	  support	  provided	  to	  the	  department	  by	  the	  
   County	  over	  a	  period	  of	  years	  and	  2)	  correctable	  programmatic	  deficiencies	  and	  
   institutional	  barriers	  both	  within	  the	  facilities	  and	  within	  the	  County	  Hospital	  and	  
   clinic	  system.	  	  	  
   	  
   At	  the	  same	  time,	  I	  found	  the	  department	  medical	  staff	  including	  nurses,	  doctors	  and	  
   administrators	  and	  the	  Sheriff’s	  Department	  liaisons	  on	  the	  whole	  to	  be	  professional	  
   and	  competent.2	  	  This	  finding	  is	  critical	  because	  it	  suggests	  that	  if	  the	  historical	  
   structural	  and	  resourced	  based	  issues	  are	  addressed,	  care	  could	  be	  brought	  up	  to	  
   meet	  constitutional	  standards.	  
   	  
   In	  my	  opinion,	  the	  department	  has	  the	  capacity	  to	  correct	  their	  many	  deficiencies	  if	  
   they	  are	  provided	  with	  adequate	  resources	  on	  an	  ongoing	  basis.	  	  Indeed,	  a	  plan	  for	  
   reform	  articulated	  by	  Correctional	  Health	  Administrator	  William	  Wilson	  is	  well	  
   thought	  out	  and	  holds	  promise	  for	  eliminating	  deficiencies.	  In	  the	  course	  of	  my	  
   investigation	  I	  was	  able	  to	  learn	  about	  the	  plan	  for	  reform	  in	  some	  detail,	  and	  I	  can	  
   confirm	  that	  important	  initial	  steps	  to	  bring	  health	  care	  into	  compliance	  with	  
   constitutionals	  standards	  have	  recently	  been	  undertaken.	  	  The	  department	  has	  a	  
   reasonable	  plan.	  	  I	  reference	  this	  plan	  where	  helpful	  in	  relevant	  findings	  and	  
   recommendations	  in	  this	  report.	  
   	  
   Yet	  while	  the	  department	  has	  a	  reasonable	  plan,	  what	  the	  department	  doesn’t	  have	  
   yet	  is	  a	  track	  record	  of	  success	  in	  providing	  constitutionally	  appropriate	  care.	  	  	  
   	  
   A	  Riverside	  Grand	  Jury	  and	  an	  outside	  consultant	  noted	  deficiencies	  in	  health	  care	  
   delivery	  as	  far	  back	  as	  2011.	  	  Four	  years	  have	  passed	  with	  only	  initial	  and	  
   incomplete	  reforms	  and	  improvements,	  most	  of	  them	  relatively	  recent.	  	  In	  the	  past	  
   year,	  meaningful	  corrective	  measures	  have	  picked	  up	  in	  pace,	  but	  there	  has	  not	  been	  
   enough	  time	  for	  those	  interventions	  to	  have	  corrected	  the	  deficiencies	  brought	  on	  
   by	  years	  of	  fiscal	  neglect.	  
   	  
   	                                              	  

   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   2	  This	  is	  an	  overall	  impression.	  	  I	  will	  make	  specific	  comments	  about	  the	  

   professional	  qualifications	  of	  the	  physicians	  elsewhere	  in	  this	  report	  as	  not	  all	  are	  
   fully	  qualified	  to	  provide	  care	  to	  adults.	  
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   Specific	  Findings	  
   	  
   The	  section	  that	  follows	  outlines	  specific	  deficiencies	  noted	  in	  my	  review.	  	  If	  there	  is	  
   a	  relevant	  NCCHC	  standard,	  I	  note	  it.	  3	  	  No	  adverse	  finding	  is	  based	  solely	  on	  an	  
   inmate	  claim	  made	  during	  an	  interview	  although	  some	  were	  identified	  first	  by	  an	  
   interview;	  all	  problems	  described	  were	  verified	  either	  by	  the	  medical	  record	  or	  by	  
   staff	  or	  in	  some	  cases,	  by	  both.	  
   	  
   Accreditation	  status:	  	  
   	  
   Currently,	  the	  Riverside	  County	  Jail	  Health	  Services	  are	  not	  accredited	  with	  NCCHC	  
   or	  the	  American	  Correctional	  Association.	  	  According	  to	  the	  Medical	  Administrator,	  
   Mr.	  Wilson,	  the	  department	  is	  considering	  applying	  for	  accreditation	  with	  the	  
   NCCHC.	  
   	  
   Staffing:	  	  	  
   	  
   Currently	  staffing	  remains	  short	  of	  the	  department’s	  own	  stated	  plan	  and	  is	  not	  
   sufficient	  to	  deliver	  appropriate	  medical	  care.	  	  A	  reasonable	  staffing	  recruitment	  
   plan	  is	  in	  place,	  and	  efforts	  to	  recruit	  new	  physicians	  and	  nurses	  is	  underway,	  but	  
   four	  years	  after	  the	  department	  was	  made	  aware	  by	  consultants	  of	  staffing	  
   deficiencies,	  the	  staffing	  levels	  proposed	  by	  the	  department	  have	  not	  yet	  been	  met.	  	  
   According	  to	  a	  Correctional	  Healthcare	  Services	  Personnel	  Tracking	  report	  provided	  
   to	  me	  through	  counsel,	  as	  of	  May	  28,	  2015,	  one	  of	  the	  five	  full	  time	  physician	  
   positions	  and	  three	  of	  the	  six	  nurse	  practitioner	  positions	  remain	  unfilled.	  	  For	  the	  
   entire	  health	  care	  service,	  62	  of	  217	  (roughly	  28%)	  of	  the	  authorized	  positions	  
   remain	  unfilled.	  	  
   	  
   Current	  physician	  salaries	  may	  not	  be	  competitive	  with	  other	  correctional	  medicine	  
   opportunities	  in	  the	  state	  and	  this	  is	  likely	  related	  to	  the	  failure	  of	  the	  department	  to	  
   attract	  board	  certified	  physicians.	  Of	  the	  seven	  physicians	  identifies	  as	  working	  for	  
   the	  department,	  I	  can	  verify	  only	  one	  (Dr.	  Chakmakian)	  currently	  holds	  current	  
   board	  certification	  in	  a	  recognized	  American	  Board	  of	  Medical	  Specialties	  discipline.	  	  
   Dr.	  Montenegro	  is	  one	  of	  the	  physicians	  who	  is	  not	  board	  certified,	  and	  only	  appears	  
   to	  have	  training	  in	  pediatrics	  –	  training	  that	  is	  not	  appropriate	  for	  an	  adult	  facility.	  	  
   One	  of	  the	  physicians,	  Dr.	  Sawires	  was	  previously	  disciplined	  by	  the	  licensure	  board	  
   in	  Michigan	  for	  an	  apparent	  failure	  to	  disclose	  past	  disciplinary	  issues	  on	  an	  
   application.	  (J-­‐C-­‐07)	  
   	  
   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
   3	  My	  inclusion	  of	  the	  standards	  is	  merely	  for	  reference	  and	  although	  I	  do	  describe	  

   deficiencies,	  inclusion	  of	  the	  standard	  in	  this	  section	  does	  not	  mean	  I	  have	  
   necessarily	  concluded	  that	  the	  standard	  is	  not	  being	  met.	  	  I	  do	  summarize	  standards	  
   that	  I	  feel	  are	  not	  being	  met	  later	  in	  this	  document.	  
   	  
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    Physical	  space	  for	  medical	  care:	  	  
    	  
    With	  the	  exception	  of	  the	  Southwest	  Detention	  Center,	  clinic	  space	  in	  most	  facilities	  
    small,	  cramped	  and	  poorly	  designed.	  	  Some	  clinic	  spaces	  in	  the	  Banning	  facility	  have	  
    open	  walls	  that	  allow	  people	  outside	  the	  clinic	  to	  listen	  in	  on	  private	  medical	  
    consultations.	  	  Much	  of	  the	  clinic	  space	  appears	  not	  to	  have	  been	  architecturally	  
    designed	  to	  be	  clinic	  space	  –	  especially	  in	  the	  older	  facilities.	  	  Overall,	  outside	  of	  the	  
    Southwest	  Detention	  Center,	  clinic	  space	  too	  small	  and	  is	  inadequately	  designed.	  	  
    The	  small	  clinical	  space	  can	  limit	  the	  number	  of	  patients	  being	  seen	  and	  the	  
    efficiency	  of	  flow	  or	  multitasking	  (such	  as	  a	  doctor	  and	  nurse	  working	  together	  at	  
    the	  same	  time	  in	  the	  same	  space)	  and	  the	  lack	  of	  privacy	  violates	  confidentiality	  and	  
    inhibits	  patients	  from	  providing	  candid	  histories	  that	  are	  required	  for	  provision	  of	  
    care	  and	  is	  a	  violation	  of	  NCCHC	  standards	  and	  the	  community	  standard.	  	  (J-­‐D-­‐03,	  J-­‐
    A-­‐09)	  
    	  
    Infirmary	  or	  Intermediate	  Level	  of	  Care	  
    	  
    Across	  the	  entire	  system,	  the	  Riverside	  County	  Jail	  has	  no	  ability	  to	  provide	  
    infirmary	  level	  or	  intermediate	  level	  of	  care.	  	  As	  a	  result,	  inmate	  patients	  requiring	  
    higher	  level	  of	  must	  be	  transferred	  to	  outside	  facilities	  with	  the	  attendant	  higher	  
    medical	  and	  security	  costs.	  (J-­‐G-­‐03)	  
    	  
    Screening	  on	  Intake	  and	  Initial	  Health	  Assessments:	  
    	  
    Currently,	  non-­‐medically	  licensed	  Deputies	  (who	  have	  been	  trained	  in	  the	  Academy)	  
    perform	  much	  of	  the	  initial	  screening	  of	  inmates	  for	  health	  problems.	  	  	  The	  facility	  is	  
    moving	  towards	  a	  screening	  process	  performed	  entirely	  by	  licensed	  staff,	  but	  to	  
    date,	  they	  have	  not	  reached	  that	  goal.	  	  In	  cases	  where	  Deputies	  perform	  screening,	  
    nurses	  only	  evaluate	  those	  inmates	  who	  have	  positive	  findings	  based	  on	  the	  short	  
    20	  question	  screening	  questionnaire	  administered	  by	  the	  deputies.	  	  There	  does	  not	  
    appear	  to	  be	  a	  subsequent	  initial	  health	  assessment	  performed	  on	  the	  full	  
    population	  within	  14	  days.	  	  Currently,	  initial	  assessments	  are	  being	  done	  only	  if	  
    screening	  identifies	  a	  problem	  or	  if	  the	  inmate	  seeks	  care	  themselves.	  	  This	  
    approach	  does	  not	  meet	  NCCHC	  standards	  and	  by	  increasing	  the	  risk	  that	  significant	  
    health	  issues	  are	  not	  identified	  early	  places	  patients	  at	  an	  unreasonable	  risk	  of	  
    harm.	  The	  department	  is	  moving	  towards	  screening	  by	  licensed	  nursing	  staff	  for	  all	  
    inmates,	  but	  has	  not	  yet	  reached	  that	  goal,	  and	  therefore	  has	  not	  yet	  met	  the	  
    standard.	  (J-­‐E-­‐02	  and	  J-­‐E-­‐04)	  
    	  
    Currently,	  screening	  for	  TB	  involves	  a	  risk	  based	  strategy	  rather	  than	  a	  universal	  
    screening	  protocol	  at	  intake.	  	  The	  department	  is	  in	  the	  process	  of	  changing	  to	  
    universal	  intake	  screening	  by	  nurses	  and	  a	  more	  effective	  universal	  TB	  screening	  
    protocol.	  	  All	  facilities	  visited	  do	  have	  negative	  pressure	  isolation	  rooms	  for	  the	  
    housing	  of	  inmates	  suspected	  of	  having	  active	  TB.	  (J-­‐B-­‐01)	  
    	  
    	  
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    Continuous	  Quality	  Improvement:	  
    	  
    Continuous	  Quality	  Improvement,	  recommended	  in	  May	  2011	  by	  IMQ,	  has	  only	  just	  
    started.	  	  There	  is	  insufficient	  track	  record	  to	  assess	  the	  quality	  and	  effectiveness	  of	  
    this	  essential	  program.	  	  The	  facilities	  currently	  have	  very	  little	  data	  to	  help	  guide	  
    medical	  operations.	  The	  Correctional	  Health	  Administrator	  and	  Medical	  Director	  in	  
    cooperation	  with	  the	  staff	  have	  initiated	  initial	  efforts	  at	  assembling	  and	  analyzing	  
    programmatic	  information.	  	  Initial	  CQI	  efforts	  focus	  on	  analysis	  the	  specialty	  referral	  
    process	  in	  order	  to	  reduce	  backlogs	  and	  wait	  times.	  	  CQI	  is	  an	  essential	  process	  to	  
    assure	  quality	  and	  timeliness	  of	  health	  care	  delivery	  and	  is	  required	  to	  meet	  
    standard	  of	  care.	  (J-­‐A-­‐06)	  
    	  
    Utilization	  Management:	  
    	  
    There	  is	  no	  formal	  identifiable	  process	  for	  reviewing	  utilization	  of	  medical	  services.	  	  
    Specifically,	  there	  is	  no	  utilization	  management	  committee.	  	  Utilization	  management	  
    is	  a	  process	  that	  comes	  out	  of	  the	  managed	  care	  field	  and	  it	  is	  used	  for	  standardizing	  
    criteria	  and	  approval	  procedures	  for	  outside	  high	  cost	  care.	  	  It	  can	  be	  an	  effective	  
    tool	  for	  both	  cost	  containment	  and	  for	  establishing	  standardized	  approaches	  to	  
    specialty	  care	  and	  other	  high	  cost	  items	  such	  as	  durable	  medical	  equipment.	  
    	  
    Medical	  Records:	  
    	  
    Medical	  records	  are	  currently	  paper-­‐based.	  	  A	  paper	  based	  medical	  records	  in	  a	  jail	  
    system	  that	  is	  geographically	  spread	  out	  is	  woefully	  inefficient.	  	  Inmates	  are	  
    frequently	  transferred	  between	  facilities	  but	  records	  do	  not	  always	  arrive	  with	  the	  
    inmate.	  	  A	  review	  of	  records	  reveals	  a	  pattern	  of	  unsigned	  telephone	  orders	  by	  
    physicians	  –	  some	  as	  old	  as	  one	  week	  –	  and	  key	  lab	  results	  that	  have	  been	  filed	  
    without	  notation	  or	  acknowledgment	  by	  a	  physician	  or	  nurse	  practitioner.	  	  
    Documentation	  of	  clinical	  encounters	  is	  often	  brief	  and	  incomplete.	  	  There	  is	  almost	  
    no	  documentation	  by	  physicians	  of	  patient	  education	  about	  their	  illnesses,	  their	  lab	  
    or	  test	  results	  or	  the	  treatment	  plan.	  	  Handwriting	  is	  frequently	  poor,	  and	  some	  
    providers	  do	  not	  use	  a	  signature	  stamp	  so	  it	  is	  unclear	  to	  a	  reviewer	  who	  wrote	  the	  
    note	  and	  their	  professional	  capacity	  (doctor	  versus	  nurse	  or	  other	  staff).	  Problem	  
    lists	  are	  often	  incomplete.	  	  Lab	  and	  radiology	  results	  are	  frequently	  filed	  without	  
    provider	  sign	  off	  and	  abnormal	  results	  were	  often	  filed	  without	  any	  documented	  
    intervention	  to	  address	  the	  abnormality.	  Also,	  a	  significant	  deficiency	  currently	  is	  
    that	  the	  facility	  is	  not	  using	  a	  unified	  health	  record	  and	  mental	  health	  records	  are	  
    kept	  separately	  from	  other	  medical	  records.	  	  This	  is	  a	  bad	  practice	  that	  significantly	  
    increases	  the	  risk	  of	  drug	  interactions	  and	  inappropriate	  care.	  (J-­‐H-­‐01	  and	  J-­‐H-­‐03)	  
    	  
    The	  department	  has	  contracted	  to	  deploy	  a	  correctional	  Electronic	  Health	  Record	  
    (EHR)	  imminently	  (at	  the	  time	  of	  the	  drafting	  of	  this	  report).	  	  I	  was	  able	  to	  see	  a	  
    brief	  demonstration	  of	  the	  HER	  prior	  to	  its	  deployment.	  	  At	  the	  time	  of	  my	  
    investigation,	  this	  new	  system	  had	  not	  yet	  deployed.	  	  While	  I	  was	  impressed	  with	  
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    the	  demonstration	  of	  the	  software	  by	  the	  vendor,	  it	  is	  too	  early	  to	  comment	  on	  
    whether	  or	  not	  this	  new	  system	  will	  adequately	  address	  charting	  deficiencies.	  
    	  
    Electronic	  health	  systems	  are	  living	  software	  solutions	  requiring	  set	  up,	  
    maintenance	  and	  continuous	  modification	  and	  maintenance	  of	  a	  functioning	  
    computer	  network.	  	  It	  also	  requires	  ongoing	  staff	  training.	  	  	  
    	  
    The	  County’s	  demonstrated	  ability	  to	  deploy	  an	  EHR	  is	  mixed	  at	  best.	  	  At	  the	  County	  
    Hospital	  where	  I	  am	  on	  staff,	  I	  was	  part	  of	  the	  initial	  deployment	  of	  the	  Next-­‐Gen	  
    EHR	  for	  outpatient	  clinics	  (and	  I	  have	  been	  part	  of	  the	  launch	  of	  two	  other	  EHR	  
    systems	  in	  previous	  settings).	  	  After	  four	  years	  of	  network	  problems	  and	  training	  
    and	  maintenance	  and	  modification	  problems,	  the	  Next-­‐Gen	  system	  proved	  to	  be	  
    slow,	  unreliable	  (frequent	  crashes),	  difficult	  to	  find	  archived	  scanned	  items	  and	  
    nearly	  impossible	  to	  scan	  or	  review	  prior	  encounters	  efficiently.	  	  It	  is	  now	  being	  
    abandoned	  in	  favor	  of	  an	  entirely	  new	  EHR	  program	  in	  part	  due	  to	  compatibility	  
    issues	  with	  partner	  organizations,	  something	  that	  was	  not	  fully	  anticipated	  at	  the	  
    time	  of	  the	  programs	  initial	  selection.	  	  Next-­‐Gen	  looked	  good	  when	  it	  was	  
    demonstrated	  too,	  but	  the	  County	  was	  unable	  to	  successfully	  deploy	  it,	  or	  at	  least	  it	  
    did	  not	  solve	  all	  of	  the	  problems	  it	  was	  hoped	  to	  solve	  and	  it	  created	  new	  ones.	  	  This	  
    does	  not	  necessarily	  mean	  the	  County	  was	  not	  thoughtful	  or	  reasoned	  when	  it	  
    selected	  Next-­‐Gen,	  but	  it	  illustrates	  how	  hard	  it	  is	  to	  actually	  deploy	  a	  system,	  and	  is	  
    some	  indication	  of	  the	  County’s	  ability	  to	  do	  so.	  	  So,	  while	  there	  is	  reason	  to	  be	  
    optimistic	  that	  the	  new	  EHR	  system	  will	  help	  correct	  documentation	  deficiencies,	  it	  
    is	  way	  too	  early	  to	  tell	  whether	  it	  will	  actually	  succeed.	  	  As	  with	  other	  areas	  cited	  in	  
    this	  report,	  the	  County	  has	  a	  reasonable	  plan,	  but	  not	  a	  track	  record	  of	  success.	  	  	  
    	  
    	  
    Chronic	  Disease	  Management	  
    	  
    Chronic	  disease	  management	  is	  inadequate.	  (J-­‐G-­‐01)	  
    	  
    My	  review	  found	  management	  of	  chronic	  illnesses	  such	  as	  asthma,	  diabetes,	  HIV	  and	  
    hypertension,	  among	  others,	  to	  be	  ad	  hoc,	  incomplete,	  inconsistent,	  and	  reactive	  as	  
    opposed	  to	  proactive.	  Care	  of	  chronic	  diseases	  appears	  to	  be	  driven	  more	  by	  inmate	  
    self	  advocacy	  including	  court	  intervention	  than	  by	  widely	  accepted	  clinical	  
    guidelines	  (including	  but	  not	  limited	  to	  those	  referenced	  by	  the	  NCCHC	  and	  Federal	  
    Bureau	  of	  Prisons).	  	  	  
    	  
    There	  is	  no	  reliable	  centralized	  list	  of	  patients	  with	  chronic	  care	  conditions.	  	  Lists	  
    are	  maintained	  locally	  at	  individual	  housing	  stations	  and	  consist	  of	  cases	  identified	  
    by	  nurses	  on	  the	  housing	  units	  which	  does	  not	  allow	  for	  tracking	  of	  chronic	  disease	  
    management	  as	  patients	  move	  both	  within	  the	  facility	  or	  between	  facilities.	  	  The	  
    facility	  did	  provide	  me	  with	  chronic	  disease	  protocols	  but	  based	  on	  my	  record	  
    review,	  but	  I	  based	  my	  conclusions	  on	  the	  actual	  ongoing	  care	  of	  chronic	  illness	  
    being	  provided	  and	  documented,	  such	  as	  regularly	  scheduled	  follow	  up	  visits	  (those	  
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    appear	  to	  be	  scheduled	  inconsistently	  –	  if	  at	  all	  –	  by	  individual	  physicians	  and	  
    nurses	  with	  no	  clearly	  documented	  logic	  or	  clinical	  reasoning).	  
    	  
    In	  a	  number	  of	  reviewed	  cases,	  care	  of	  chronic	  disease	  patients	  appeared	  to	  be	  
    negligent	  and	  overall	  care	  of	  chronic	  diseases	  could	  be	  characterized	  as	  deliberately	  
    indifferent.	  	  	  
    	  
    Some	  examples	  follow:	  
    	  
    	            Asthma-­‐	  Asthma	  care	  in	  the	  cases	  reviewed	  does	  not	  meet	  nationally	  
    accepted	  standards.	  	  The	  facility	  makes	  no	  use	  of	  Peak	  flow	  meters.	  	  Peak	  flow	  
    meters	  are	  inexpensive	  plastic	  devices	  that	  allow	  for	  reliable	  objective	  assessment	  
    of	  the	  severity	  of	  a	  patient’s	  ability	  to	  breath	  and	  are	  considered	  a	  standard	  part	  of	  
    asthma	  management.	  	  In	  some	  cases	  reviewed,	  patients	  with	  significant	  asthma	  
    histories	  were	  not	  evaluated	  by	  physicians	  unless	  they	  presented	  with	  an	  acute	  
    attack.	  	  In	  one	  case,	  an	  inmate	  with	  a	  significant	  history	  of	  asthma	  noted	  on	  intake	  
    has	  not	  ever	  been	  seen	  by	  a	  physician	  at	  the	  jail	  over	  his	  entire	  15	  month	  period	  of	  
    incarceration.	  	  During	  this	  period,	  he	  did	  have	  an	  order	  for	  a	  rescue	  inhaler,	  but	  was	  
    not	  assessed	  by	  a	  physician	  at	  any	  time	  to	  assure	  that	  the	  treatment	  plan	  was	  
    effective.	  	  During	  an	  acute	  asthma	  attack,	  he	  was	  sent	  to	  an	  outside	  Emergency	  
    Room	  (the	  only	  documented	  physician	  encounter	  during	  the	  fifteen	  month	  period	  of	  
    incarceration).	  	  On	  return	  from	  the	  Emergency	  Room,	  he	  was	  not	  reassessed	  by	  a	  
    facility	  physician.	  	  An	  order	  for	  prednisone	  documented	  by	  the	  ER	  physician	  was	  
    never	  noted	  or	  ordered	  by	  the	  facility	  and	  the	  inmate	  never	  received	  this	  critical	  
    medication	  for	  his	  serious	  and	  acute	  medical	  condition.	  	  	  
    	  
    	            Diabetes-­‐	  Diabetes	  care	  at	  the	  jail	  facilities	  is	  inconsistent.	  	  Known	  diabetics	  
    do	  typically	  receive	  adequate	  monitoring	  by	  nurses	  with	  assessment	  of	  blood	  sugar	  
    by	  finger	  stick	  testing	  as	  ordered	  by	  a	  physician.	  	  However,	  regular	  evaluation	  by	  a	  
    physician	  is	  inconsistent.	  	  Measurement	  of	  Hemoglobin	  A1C	  (HgbA1C	  –	  a	  standard	  
    measure	  of	  diabetic	  control)	  on	  arrival	  and	  at	  recommended	  intervals	  (typically	  
    every	  90	  days)	  is	  inconsistent.	  	  In	  one	  case,	  a	  known	  diabetic	  had	  been	  detained	  for	  
    nearly	  3	  months	  with	  no	  lab	  work	  or	  HgbA1c	  ordered.	  	  Accommodation	  for	  special	  
    footwear	  for	  diabetic	  with	  diabetic	  neuropathy	  was	  inconsistent	  (failure	  to	  provide	  
    adequate	  footwear	  can	  result	  in	  significant	  foot	  injuries	  leading	  to	  significant	  
    complications	  including	  infections	  and	  amputations.	  	  The	  standard	  footwear	  in	  
    Riverside	  jails	  is	  inexpensive	  disposable	  slippers	  which	  are	  not	  appropriate	  and	  
    provide	  inadequate	  protection	  for	  diabetics	  and	  others	  with	  neuropathies.)	  	  In	  
    another	  case,	  the	  inmate	  discontinued	  his	  own	  diabetic	  medication,	  but	  this	  was	  
    never	  reported	  to	  a	  physician	  by	  nursing,	  and	  the	  patient	  was	  not	  called	  in	  to	  discuss	  
    his	  decision	  to	  unilaterally	  discontinue	  his	  medications.	  	  In	  yet	  another	  case,	  an	  
    inmate	  did	  receive	  blood	  work	  with	  a	  significantly	  high	  HgbA1c	  documented	  in	  
    March	  2015	  documenting	  poorly	  controlled	  diabetes.	  	  As	  of	  May	  20,	  2015,	  a	  
    physician	  had	  not	  reassessed	  the	  patient	  nor	  had	  the	  results	  been	  explained	  to	  the	  
    patient.	  	  In	  another	  case	  at	  Robert	  Presley,	  an	  elevated	  HgbA1C	  was	  noted	  by	  the	  
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    doctor	  in	  March,	  but	  the	  treatment	  plan	  was	  not	  adjusted	  and	  the	  results	  were	  never	  
    discussed	  with	  the	  patient.	  	  	  
    	  
    	             Hypertension-­‐	  Management	  of	  hypertension	  in	  the	  Riverside	  County	  Jail	  did	  
    not	  meet	  nationally	  accepted	  guidelines	  for	  the	  cases	  I	  reviewed	  (Ref:	  NCCHC	  
    October	  2014	  guidelines	  for	  hypertension,	  JNC	  8).	  	  Specifically,	  patients	  with	  
    hypertension	  did	  not	  typically	  receive	  complete	  initial	  exams	  and	  work-­‐ups,	  they	  
    did	  not	  consistently	  receive	  appropriate	  laboratory	  or	  EKG	  tests.	  	  In	  one	  case,	  the	  
    inmate	  went	  four	  days	  without	  medications.	  
    	  
                   HIV-­‐	  HIV	  care	  in	  the	  Riverside	  County	  Jail	  does	  not	  meet	  nationally	  accepted	  
    guidelines.	  	  In	  the	  cases	  I	  reviewed,	  I	  documented	  interruption	  in	  critical	  
    antiretroviral	  medications	  on	  arrival	  (April	  26,	  2015	  the	  inmate	  submitted	  a	  slip	  
    reporting	  HIV	  and	  need	  for	  continuation	  of	  medications.	  	  First	  meds	  given	  on	  May	  7,	  
    2015,	  some	  ten	  days	  later).	  	  In	  one	  case	  of	  an	  inmate	  with	  HIV	  who	  had	  been	  
    incarcerated	  for	  two	  years,	  CD4	  cell	  counts	  (which	  should	  be	  checked	  every	  90	  
    days)	  had	  not	  been	  ordered	  since	  late	  2013	  (over	  a	  year	  and	  a	  half).	  	  In	  that	  same	  
    case,	  he	  had	  not	  been	  seen	  by	  an	  HIV	  specialist	  in	  over	  a	  year	  and	  a	  half.	  	  In	  general,	  
    consultation	  with	  HIV	  specialists	  for	  inmates	  with	  HIV	  appears	  to	  be	  rare	  if	  it	  occurs	  
    at	  all.	  
    	  
    	  
                   Other	  chronic	  conditions-­‐	  In	  other	  cases	  where	  inmates	  had	  known	  chronic	  
    care	  needs,	  care	  was	  infrequent	  and	  cavalier.	  	  In	  Blythe,	  an	  inmate	  with	  known	  
    chronic	  lung	  disease,	  heart	  disease	  (previous	  heart	  attack),	  diabetes	  and	  gout	  had	  
    not	  been	  seen	  by	  a	  physician	  in	  nearly	  five	  months.	  	  A	  patient	  at	  Southwest	  was	  
    noted	  on	  intake	  to	  have	  a	  history	  of	  Barrett’s	  esophagus,	  a	  serious	  esophageal	  
    condition	  that	  requires	  chronic	  acid	  suppression	  with	  medications,	  but	  no	  acid	  
    blocking	  medication	  was	  ordered	  and	  the	  patient	  was	  placed	  on	  daily	  aspirin	  
    (presumably	  for	  stroke	  risk),	  a	  medication	  that	  can	  exacerbate	  the	  condition.	  	  A	  
    patient	  who	  had	  undergone	  a	  kidney	  transplant	  in	  the	  past	  went	  four	  days	  without	  
    medications.	  	  A	  patient	  at	  Southwest	  with	  seizure	  history	  on	  medications	  noted	  on	  
    intake	  waited	  two	  days	  without	  medications.	  	  Later,	  when	  labs	  were	  drawn,	  he	  was	  
    never	  informed	  of	  results.	  	  	  
    	  
    Timely	  Access	  to	  Care:	  
    	  
    The	  Riverside	  County	  Jail	  is	  not	  consistently	  providing	  timely	  access	  to	  care	  for	  
    serious	  medical	  conditions.	  	  Shortcomings	  in	  timely	  access	  to	  care	  occur	  in	  two	  
    distinct	  areas.	  	  The	  first	  is	  timely	  access	  to	  a	  facility	  physician	  for	  serious	  medical	  
    care.	  	  The	  second	  is	  timely	  access	  to	  specialty	  care	  that	  cannot	  be	  provided	  on-­‐site.	  
    	  
    	             Timely	  access	  to	  facility	  physicians-­‐	  Across	  the	  system,	  I	  documented	  
                   unacceptably	  long	  waits	  to	  see	  a	  physician,	  with	  typical	  waits	  ranging	  from	  
                   five	  days	  to	  two	  months	  or	  more.	  	  For	  the	  most	  part,	  this	  appeared	  to	  be	  
                   related	  to	  limited	  staffing	  of	  physician	  providers.	  	  In	  other	  cases	  where	  
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              physician	  availability	  has	  been	  improved,	  it	  appeared	  to	  be	  simply	  an	  
              established	  informal	  standard	  based	  on	  past	  practice.	  (J-­‐A-­‐01)	  
    	  
              Timely	  access	  to	  specialty	  care	  -­‐The	  Riverside	  County	  Jail	  is	  not	  providing	  
              timely	  access	  to	  specialty	  care	  for	  patients	  with	  serious	  medical	  conditions.	  	  
              This	  appears	  largely	  to	  be	  the	  result	  of	  barriers	  to	  access	  to	  specialty	  care	  at	  
              the	  Riverside	  University	  Medical	  Center.	  	  Due	  to	  limits	  in	  its	  own	  capacity,	  
              RUMC	  has	  difficulty	  accommodating	  specialty	  consultations	  for	  patients	  in	  
              the	  community	  as	  well,	  but	  when	  RUMC	  is	  unable	  to	  accommodate	  a	  
              detention	  health	  consultation	  need,	  the	  County	  has	  no	  alternative	  
              arrangements	  with	  other	  clinical	  providers	  to	  secure	  the	  needed	  care.	  	  	  In	  the	  
              past,	  some	  of	  the	  delay	  was	  the	  result	  of	  limitations	  in	  availability	  of	  deputies	  
              to	  accompany	  inmate	  patients	  (at	  Robert	  Presley,	  outside	  trips	  were	  limited	  
              to	  two	  patients	  per	  day	  owing	  to	  security	  staffing	  constraints	  –	  this	  
              information	  was	  volunteered	  by	  deputies	  at	  my	  initial	  briefing),	  but	  this	  
              barrier	  has	  reportedly	  been	  removed.	  (J-­‐D-­‐05)	  
    	  
    Telemedicine	  
    	  
    Despite	  being	  spread	  across	  a	  very	  large	  geographical	  areal	  and	  despite	  high	  
    logistical	  and	  financial	  costs	  of	  transporting	  patients	  for	  specialty	  visits,	  the	  
    Riverside	  County	  Jail	  currently	  does	  not	  use	  telemedicine	  technology	  for	  either	  
    general	  physician	  or	  specialty	  consultation.	  
    	  
    Physical	  Disability	  Issues	  
    	  
    The	  Riverside	  County	  Jail	  makes	  minimal	  accommodations	  for	  inmates	  with	  physical	  
    disabilities	  and	  in	  many	  cases	  the	  accommodations	  are	  overly	  restrictive	  or	  
    inadequate	  to	  accommodate	  the	  disability.	  	  For	  inmates	  who	  require	  durable	  
    medical	  equipment	  such	  as	  wheelchairs,	  walkers	  or	  canes,	  they	  are	  restricted	  to	  
    special	  housing	  units	  (SHU’s)	  that	  do	  not	  offer	  a	  higher	  level	  of	  care	  and	  sometimes	  
    don’t	  even	  offer	  fully	  accessible	  facilities	  (such	  as	  fully	  accessible	  showers).	  	  Their	  
    restriction	  to	  those	  units	  is	  based	  simply	  on	  their	  use	  of	  durable	  medical	  equipment	  
    and	  the	  policy	  is	  presumably	  designed	  to	  contain	  such	  equipment	  to	  a	  restricted	  
    area	  for	  security	  purposes.	  	  The	  resulting	  restriction	  on	  housing	  and	  movement	  for	  
    disabled	  inmates	  based	  solely	  on	  administrative	  convenience	  or	  security	  concerns	  
    without	  individualized	  risk	  assessment,	  alternative	  risk	  mitigation	  efforts	  and	  
    without	  providing	  adequate	  housing	  accommodations	  with	  or	  without	  a	  higher	  level	  
    of	  care	  and	  support	  for	  the	  disability	  raises	  ADA	  concerns.	  
    	  
    Additionally,	  the	  facility	  has	  an	  overly	  restrictive	  approach	  to	  accommodating	  
    medical	  conditions.	  	  Two	  common	  examples	  include	  mattresses	  and	  shoes.	  	  The	  
    standard	  shoe	  provided	  by	  the	  facility	  is	  a	  disposable	  slipper	  that	  offers	  little	  
    support	  or	  foot	  protection.	  	  This	  is	  not	  appropriate	  for	  patients	  with	  diabetes,	  other	  
    neuropathies	  or	  other	  lower	  extremity	  injuries	  or	  disease;	  yet,	  requests	  for	  
    accommodation	  for	  a	  more	  supportive	  shoe	  are	  often	  dismissed	  due	  to	  overly	  
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    restrictive	  medical	  criteria.	  	  Similarly,	  the	  standard	  mattress	  provided	  for	  inmates	  is	  
    quite	  thin	  –	  even	  by	  correctional	  standards	  –	  and	  yet	  reasonable	  requests	  for	  an	  
    additional	  mattress	  to	  accommodate	  chronic	  conditions	  are	  often	  dismissed	  due	  to	  
    overly	  restrictive	  criteria.	  	  Staff	  are	  understandably	  concerned	  about	  “opening	  the	  
    floodgates”	  to	  requests	  for	  special	  accommodations,	  but	  many	  other	  facilities	  in	  the	  
    state	  and	  the	  country	  manage	  these	  same	  issues	  more	  effectively	  without	  adverse	  
    consequences	  to	  the	  staff	  or	  facility.	  (J-­‐G-­‐02	  and	  J-­‐G-­‐10)	  
    	  
    Pharmacy	  Services	  
    	  
    The	  Riverside	  County	  Jail	  operates	  locked	  residential	  facilities	  seven	  days	  a	  week,	  
    twenty	  four	  hours	  a	  day,	  yet	  pharmacy	  services	  are	  provided	  by	  the	  County	  Hospital	  
    Pharmacy	  only	  five	  days	  a	  week	  and	  not	  on	  holidays.	  	  The	  facilities	  manage	  on	  
    weekends	  and	  holidays	  by	  use	  of	  a	  limited	  stick	  of	  common	  medications,	  and	  in	  rare	  
    occasions,	  they	  can	  access	  support	  from	  the	  hospital	  pharmacy	  on	  weekends	  or	  
    holidays.	  (J-­‐D-­‐01)	  
    	  
    The	  facility	  makes	  little	  use	  of	  Keep	  On	  Person	  (KOP)	  medications.	  	  Keep	  On	  Person	  
    programs	  remove	  unnecessary	  barriers	  to	  care	  by	  allowing	  appropriate	  patients	  to	  
    have	  immediate	  access	  to	  low	  risk	  medicines	  such	  as	  lotions	  or	  inhalers.	  	  	  
    	  
    Ordered	  medications	  are	  not	  provided	  to	  inmates	  who	  are	  in	  transit	  or	  at	  court.	  
    (This	  deficiency	  was	  noted	  in	  2011	  by	  IQM	  but	  facility	  staff	  were	  apparently	  
    unaware	  of	  this	  when	  I	  raised	  the	  issue	  during	  my	  visit).	  	  In	  one	  case,	  an	  inmate	  who	  
    had	  been	  hospitalized	  for	  a	  soft	  tissue	  infection	  (cellulitis)	  and	  was	  discharged	  from	  
    the	  hospital	  with	  a	  continuing	  order	  for	  oral	  antibiotics	  and	  then	  missed	  four	  doses	  
    of	  antibiotics	  over	  a	  day	  and	  a	  half	  following	  his	  hospital	  discharge	  because	  that	  is	  
    how	  long	  he	  was	  in	  transit	  from	  the	  County	  Hospital	  back	  to	  the	  Blythe	  facility	  by	  
    way	  of	  Indio	  and	  Riverside	  facilities.	  	  The	  facility	  currently	  has	  no	  mechanism	  for	  
    providing	  necessary	  medications	  for	  inmates	  in	  transit	  or	  in	  court	  despite	  the	  
    department	  being	  made	  aware	  of	  this	  deficiency	  for	  over	  four	  years.	  	  
    	          	  
    Sick	  Call	  
    	  
    Provisions	  for	  sick	  call	  at	  Riverside	  County	  Jails	  are	  inadequate.	  	  Current	  practice	  
    requires	  inmate	  to	  submit	  written	  requests	  in	  order	  to	  be	  considered	  for	  a	  sick-­‐call	  
    evaluation.	  	  Across	  all	  facilities	  with	  the	  exception	  of	  Blythe,	  nurses	  rarely	  assessed	  
    acute	  complaints	  within	  24	  hours,	  and	  typically	  inmates	  had	  to	  wait	  days.	  	  Waits	  to	  
    be	  evaluated	  by	  a	  physician	  were	  even	  longer,	  typically	  ranging	  from	  five	  days	  to	  
    weeks	  or	  even	  months.	  By	  the	  NCCHC	  standard,	  when	  an	  inmate	  request	  involves	  a	  
    clinical	  symptom,	  a	  face	  to	  face	  encounter	  should	  occur	  within	  48	  hours,	  72	  hours	  
    on	  weekends.(J-­‐E-­‐07)	  	  Also,	  inmates	  report	  that	  face	  to	  face	  requests	  for	  care	  are	  
    often	  rebuffed	  by	  directing	  the	  inmate	  to	  file	  a	  written	  request	  on	  the	  “kite,”	  the	  
    standard	  medical	  request	  form.	  
    	  
    Grievances	  
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    All	  facilities	  experience	  a	  high	  level	  of	  grievances	  by	  inmates	  alleging	  inadequate	  
    care.	  	  While	  there	  are	  procedures	  for	  staff	  review	  of	  grievances,	  there	  is	  no	  
    comprehensive	  analysis	  or	  summary	  by	  category	  of	  types	  of	  grievance	  that	  could	  be	  
    used	  to	  alert	  health	  administrators	  to	  systematic	  problems.	  (J-­‐A-­‐11)	  
    	  
    Dental	  
    	  
    Dental	  care	  when	  provided	  appears	  to	  meet	  minimal	  standards,	  but	  there	  are	  
    significant	  delays	  in	  access	  to	  such	  care.	  	  In	  one	  case	  of	  a	  dental	  abscess	  noted	  by	  
    medical	  staff	  in	  Banning,	  the	  inmate	  had	  waited	  14	  days	  for	  consultation	  with	  dental	  
    clinic.	  (J-­‐E-­‐06)	  
    	  
    Segregation	  
    	  
    Standards	  dictate	  that	  inmates	  held	  in	  segregation	  are	  evaluated	  by	  both	  mental	  
    health	  and	  medical	  staff.	  	  Nursing	  staff	  reported	  that	  they	  do	  check	  on	  inmates	  held	  
    in	  segregation,	  often	  when	  they	  are	  on	  a	  housing	  unit	  doing	  a	  pill	  pass,	  but	  there	  is	  
    not	  documentation	  or	  log	  to	  document	  that	  these	  important	  checks	  are	  being	  
    performed	  at	  the	  required	  intervals	  (a	  daily	  check	  is	  required	  for	  complete	  isolation	  
    in	  a	  one	  man	  cell).	  	  	  This	  does	  not	  meet	  the	  NCCHC	  standard	  for	  the	  monitoring	  of	  
    inmates	  in	  segregation.	  (J-­‐E-­‐09)	  
    	  
    Restraints	  
    	  
    There	  is	  inadequate	  documentation	  of	  medical	  monitoring	  of	  inmates	  held	  in	  
    restraints.	  	  In	  one	  case	  in	  Blythe,	  there	  was	  no	  available	  documentation	  that	  an	  
    inmate	  who	  had	  been	  held	  in	  a	  restraint	  chair	  (a	  very	  high	  risk	  restraint	  mechanism	  
    that	  is	  rarely	  used	  in	  most	  correctional	  settings)	  had	  been	  monitored	  for	  adverse	  
    health	  effects	  by	  medical	  staff.	  	  (J-­‐I-­‐01)	  
    	  
    Impact	  of	  a	  high	  security	  environment	  on	  health	  care	  
    	  
    It	  is	  important	  to	  note	  for	  context	  that	  the	  Riverside	  County	  Jail	  is	  one	  of	  the	  
    restrictive	  jail	  environments	  I	  have	  ever	  seen.	  	  I	  base	  this	  conclusion	  not	  only	  on	  my	  
    direct	  observations	  but	  on	  numerous	  discussions	  with	  deputies	  and	  patients	  during	  
    my	  visits.	  	  	  
    	  
    There	  appears	  to	  be	  no	  meaningful	  risk-­‐based	  classification	  and	  all	  inmates	  are	  
    treated	  as	  if	  they	  are	  high	  risk.	  	  While	  this	  may	  seem	  to	  allow	  for	  some	  efficiency	  for	  
    security	  purposes,	  such	  restrictive	  conditions	  of	  confinement	  create	  unnecessary	  
    barriers	  to	  care	  and	  introduce	  significant	  inefficiencies	  and	  risks	  in	  the	  delivery	  of	  
    health	  care.	  	  This	  approach	  seems	  particularly	  harsh	  and	  problematic	  for	  inmates	  
    who	  may	  be	  detained	  in	  these	  facilities	  for	  longer	  periods,	  such	  as	  the	  AB	  109	  
    population.	  
    	  
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    In	  all	  facilities,	  the	  vast	  majority	  inmates	  are	  confined	  to	  their	  cells	  (or	  very	  small	  
    housing	  units)	  nearly	  twenty-­‐four	  hours	  a	  day.	  	  (They	  are	  let	  out	  for	  daily	  showers	  
    and	  twice	  a	  week	  for	  recreation	  time	  in	  a	  closed	  gymnasium).	  	  There	  is	  little	  or	  no	  
    programming	  and	  little	  out	  door	  time.	  	  They	  rarely	  if	  ever	  get	  direct	  sunlight	  or	  fresh	  
    air.	  	  Their	  access	  to	  health	  care	  personnel	  is	  limited	  by	  their	  limited	  movement	  and	  
    relies	  on	  a	  paper	  driven	  “kite”	  system	  for	  reporting	  a	  health	  concern.	  	  If	  nursing	  does	  
    not	  come	  to	  their	  cell	  to	  give	  them	  the	  opportunity	  to	  raise	  concerns,	  their	  only	  
    other	  alternative	  to	  get	  medical	  attention	  is	  to	  call	  a	  “man	  down”	  medical	  
    emergency.	  
    	  
    Conditions	  that	  are	  overly	  restrictive	  can	  and	  do	  have	  impact	  on	  inmate	  health	  and	  
    well-­‐being	  and	  increase	  risks	  of	  adverse	  health	  events.	  	  Minimally,	  they	  create	  
    barriers	  to	  access	  to	  required	  medical	  care.	  	  I	  use	  the	  term	  “barrier	  to	  care”	  broadly,	  
    but	  in	  this	  case,	  there	  are	  literal	  physical	  barriers	  to	  care	  in	  the	  form	  of	  cells	  and	  
    housing	  units.	  	  Obviously	  all	  correctional	  facilities	  have	  these	  barrier,	  but	  many	  have	  
    more	  freedom	  of	  movement	  and	  provide	  for	  more	  opportunities	  for	  the	  inmates	  to	  
    interact	  with	  health	  care	  staff.	  
    	  
    	  
    Reviews	  of	  In-­‐Custody	  Deaths	  
    	  
    NCCHC	  Standards	  call	  for	  a	  multi-­‐disciplinary	  review	  of	  all	  in-­‐custody	  deaths	  within	  
    30	  days	  to	  include	  an	  administrative	  review,	  a	  clinical	  review	  and	  if	  a	  suicide,	  a	  
    psychological	  review.	  	  According	  to	  a	  corrected	  list	  of	  29	  in-­‐custody	  deaths	  since	  
    2008	  provided	  by	  the	  County	  through	  counsel,	  the	  department	  was	  unable	  to	  locate	  
    files	  for	  5	  deaths.	  	  Of	  the	  seven	  deaths	  that	  occurred	  more	  than	  30	  days	  ago	  but	  less	  
    than	  one	  year,	  no	  multi-­‐disciplinary	  death	  reviews	  appear	  to	  have	  occurred	  based	  
    on	  the	  documentation	  provided	  to	  me	  in	  response	  to	  my	  request	  for	  in-­‐custody	  
    death	  reviews.	  This	  is	  a	  missed	  opportunity	  to	  identify	  preventable	  causes	  of	  death.	  
    (J-­‐A-­‐10)	  
    	  
    Records	  for	  the	  other	  deaths	  provided	  have	  no	  consistent	  format.	  	  Some	  are	  short	  
    summaries	  of	  one	  or	  two	  pages.	  	  Others	  are	  hundreds	  of	  pages.	  	  In	  some	  cases,	  the	  
    documentation	  includes	  a	  sign-­‐in	  sheet	  or	  Power	  Point	  presentation	  apparently	  
    from	  a	  death	  review	  meeting,	  and	  in	  some	  of	  those	  cases,	  medical	  personnel	  are	  in	  
    attendance.	  Based	  on	  the	  documentation	  provided,	  proper	  death	  reviews	  as	  
    described	  in	  the	  relevant	  NCCHC	  standard	  are	  not	  occurring	  with	  consistency	  if	  at	  
    all	  and	  if	  they	  have	  occurred,	  there	  is	  no	  documentation	  provided	  in	  response	  to	  my	  
    request	  to	  demonstrate	  that	  they	  have	  occurred	  at	  all	  in	  the	  past	  year.	  	  	  
    	  
    In	  addition,	  after	  providing	  an	  initial	  lists	  of	  in-­‐custody	  deaths,	  the	  department	  
    submitted	  a	  revised	  list	  that	  removed	  a	  number	  of	  names,	  with	  the	  explanation	  that	  
    the	  earlier	  list	  included	  inmates	  who	  had	  not	  died	  “in-­‐custody.”	  	  The	  corrected	  list,	  
    though,	  also	  included	  deaths	  noted	  as	  “NIC”	  which	  I	  read	  as	  “not	  in-­‐custody”	  as	  there	  
    also	  were	  no	  files	  provided	  for	  those	  cases,	  but	  also	  removed	  names	  from	  the	  earlier	  
    list	  who	  clearly	  had	  died	  in	  custody	  (Julio	  Negrete,	  for	  example,	  an	  in-­‐custody	  
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    homicide	  death	  from	  2013	  appears	  on	  original	  list,	  but	  is	  removed	  without	  
    explanation	  from	  the	  revised	  list).	  	  At	  the	  same	  time,	  a	  suicide	  from	  2012	  (Sonny	  
    Mazon)	  correctly	  appears	  on	  the	  revised	  list,	  but	  was	  not	  listed	  on	  the	  earlier	  more	  
    comprehensive	  list	  of	  deaths.	  	  (Mazon	  died	  from	  injuries	  related	  to	  a	  hanging	  while	  
    in-­‐custody	  and	  so	  should	  appear	  on	  the	  list	  of	  in-­‐custody	  deaths	  even	  though	  he	  
    died	  in	  an	  outside	  hospital.)	  	  	  
    	  
    The	  overall	  impression	  I	  am	  left	  with	  is	  that	  the	  department	  does	  not	  have	  a	  good	  
    handle	  on	  in-­‐custody	  deaths.	  	  Records	  of	  five	  deaths	  are	  missing.	  	  This	  is	  nothing	  
    short	  of	  stunning	  and	  reflects	  very	  poorly	  on	  the	  department.	  	  For	  cases	  where	  
    records	  are	  provided,	  reviews	  are	  inconsistent	  and	  incomplete	  and	  tend	  to	  be	  
    heavily	  biased	  towards	  events	  following	  the	  death	  and	  not	  events	  leading	  up	  to	  the	  
    death,	  and	  the	  medical	  and	  psychological	  viewpoint	  is	  often	  missing.	  	  This	  is	  a	  
    critical	  failing	  because	  careful	  reviews	  of	  in-­‐custody	  deaths	  are	  essential	  in	  
    identifying	  ongoing	  risks	  to	  health	  and	  safety	  of	  inmates	  in	  an	  institution.	  	  In	  this	  
    area,	  the	  department	  falls	  well	  short	  of	  correctional	  standards	  and	  raises	  a	  real	  
    concern	  that	  inmates	  are	  at	  unreasonable	  risk	  of	  harm	  from	  preventable	  cuases	  of	  
    death.	  
    	  
    	  
    Summary	  of	  2014	  NCCHC	  Jail	  Not	  Being	  Met	  or	  Requiring	  Further	  Work	  
    	  
    The	  following	  is	  my	  summary	  of	  priority	  areas	  that	  the	  department	  should	  continue	  
    focus	  on	  in	  order	  to	  be	  ready	  for	  NCCHC	  accreditation:	  
    	  
    J-­‐A-­‐01	  	  Access	  to	  Care	  
    J-­‐A-­‐06	  Continuous	  Quality	  Improvement	  Plan	  
    J-­‐A-­‐09	  Privacy	  of	  Care	  
    J-­‐A-­‐10	  Procedure	  in	  the	  Event	  of	  an	  Inmate	  Death	  
    J-­‐A-­‐11	  Grievance	  Mechanism	  for	  Health	  Complaints	  
    J-­‐C-­‐02	   Clinical	  Performance	  Enhancement	  
    J-­‐D-­‐03	  Clinic	  Space,	  Equipment,	  And	  Supplies	  
    J-­‐D-­‐05	  	  Hospital	  and	  Specialty	  Care	  
    J-­‐E-­‐02	   Receiving	  Screening	  
    J-­‐E-­‐04	   Initial	  Health	  Assessment	  
    J-­‐E-­‐07	  	  Non-­‐Emergency	  Health	  Care	  Requests	  and	  Services	  
    J-­‐E-­‐09	   Segregated	  Inmates	  
    J-­‐E-­‐12	  	  Continuity	  and	  Coordination	  of	  Care	  During	  Incarceration	  
    J-­‐G-­‐01	  Chronic	  Disease	  Services	  
    J-­‐G-­‐02	  Patients	  with	  Special	  Health	  Needs	  
    J-­‐I-­‐01	  	  Restraint	  and	  Seclusion	  
    	  
    	  
    	  
    	  
    	  
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    Discussion	  
    	  
    The	  Medical	  Program	  at	  the	  Riverside	  County	  Jails	  was	  challenged	  by	  drastic	  cuts	  to	  
    budget	  and	  personnel	  that	  occurred	  more	  than	  five	  years	  ago.	  	  My	  review	  concludes	  
    that	  those	  cuts	  had	  significant	  impact	  on	  the	  quality	  of	  health	  care	  in	  the	  County	  jails	  
    resulting	  in	  my	  current	  finding	  that	  care	  in	  the	  Riverside	  County	  Jails	  does	  not	  meet	  
    constitutional	  standards.	  	  Other	  reviewers	  as	  far	  back	  as	  2011,	  including	  a	  Grand	  
    Jury,	  reached	  the	  same	  conclusion.	  	  Yet,	  four	  years	  after	  those	  findings,	  care	  is	  still	  
    sub-­‐standard	  and	  unacceptable.	  
    	  
    The	  budget	  cuts	  visited	  upon	  the	  medical	  program	  by	  the	  Riverside	  County	  Board	  of	  
    Supervisors	  prior	  to	  the	  2011	  Grand	  Jury	  Report	  are	  deeply	  troubling	  as	  they	  
    document	  a	  failure	  of	  the	  Supervisors	  to	  recognize	  or	  accept	  their	  constitutional	  
    obligations	  to	  provide	  health	  care	  to	  inmates	  detained	  in	  county	  facilities.	  	  
    	  
    Health	  care	  budgets	  are	  determined	  by	  factors	  such	  as	  the	  number	  of	  admissions	  
    and	  releases	  of	  inmates	  and	  the	  acute	  and	  chronic	  health	  care	  needs	  of	  those	  
    inmates.	  	  While	  the	  County	  does	  indeed	  have	  a	  legitimate	  interest	  and	  responsibility	  
    to	  assure	  that	  care	  is	  fiscally	  responsible,	  efficient	  and	  cost-­‐effective,	  cutting	  funding	  
    for	  necessary	  medical	  services	  based	  on	  financial	  pressures	  alone	  without	  regard	  to	  
    adverse	  effects	  on	  the	  ability	  of	  the	  department	  to	  provide	  minimally	  appropriate	  
    care	  is	  not	  defensible	  from	  a	  constitutional	  and	  statutory	  point	  of	  view.	  	  Simply	  put,	  
    reasonable	  access	  of	  inmates	  to	  medical	  care	  cannot	  be	  limited	  simply	  to	  contain	  
    cost,	  no	  matter	  how	  pressing	  the	  fiscal	  pressures	  on	  the	  County.	  	  In	  my	  opinion,	  
    these	  draconian	  budget	  cuts	  done,	  in	  Sheriff	  Smith’s	  words	  “without	  consideration	  
    for	  how	  those	  cuts	  affected	  the	  respondent’s	  (the	  Sheriff’s	  Department)	  ability	  to	  fulfill	  
    the	  legal	  responsibility,”	  are	  a	  clear	  foundation	  for	  any	  claim	  of	  deliberate	  
    indifference	  by	  the	  County	  to	  the	  serious	  health	  needs	  of	  the	  inmates	  in	  their	  
    custody.	  
    	  
    At	  the	  same	  time,	  it	  is	  clear	  to	  me	  that	  the	  County	  has	  now	  embarked	  on	  significant	  
    efforts	  to	  remedy	  the	  self-­‐inflicted	  wounds	  to	  the	  department	  brought	  on	  by	  the	  
    drastic	  budget	  and	  personnel	  cuts.	  	  Significantly,	  an	  experienced	  correctional	  health	  
    administrator,	  Mr.	  William	  Wilson,	  was	  hired,	  while	  structural	  changes	  were	  made	  
    to	  the	  health	  care	  delivery	  program	  with	  the	  full	  support	  of	  the	  Sheriff	  and	  the	  
    County	  Hospital.	  	  Equally	  important,	  requisite	  financial	  resources	  are	  now	  
    increasing.	  
    	  
    The	  plan	  for	  improvement	  of	  care	  described	  to	  me	  by	  key	  leaders	  including	  Dr.	  
    Arnold	  Tabuenca,	  Mr.	  William	  Wilson	  and	  Dr.	  Victor	  Laus	  is	  encouraging	  and	  largely	  
    consistent	  with	  the	  recommendations	  I	  have	  made	  in	  this	  report.	  I	  have	  confidence	  
    that,	  given	  the	  correct	  level	  of	  ongoing	  and	  sustained	  support	  by	  the	  County,	  these	  
    individuals	  are	  capable	  of	  bringing	  care	  within	  the	  Jails	  up	  to	  standard.	  	  While	  they	  
    have	  taken	  initial	  steps,	  at	  the	  time	  of	  my	  review,	  it	  is	  too	  early	  to	  measure	  
    significant	  impact.	  	  But	  the	  early	  signs	  are	  encouraging,	  including	  the	  successful	  
    recruitment	  of	  physicians	  and	  nurses,	  the	  securing	  of	  a	  contract	  for	  an	  Electronic	  
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    Health	  Record,	  initial	  CQI	  and	  data	  collection	  strategies,	  and	  revisions	  to	  the	  
    functional	  relationship	  between	  the	  Sheriff’s	  department	  and	  the	  County	  Hospital.	  
    	  
    I	  will	  take	  care	  to	  point	  out	  that,	  in	  my	  opinion,	  the	  significant	  deficits	  in	  care	  that	  I	  
    have	  documented	  in	  this	  report	  do	  not	  appear	  to	  be	  the	  result	  of	  unqualified	  or	  
    uncaring	  medical	  professionals.	  	  On	  the	  contrary,	  Dr.	  Victor	  Laus	  and	  the	  nurses	  who	  
    did	  not	  abandon	  their	  posts	  during	  the	  long	  period	  of	  short	  staffing	  are	  to	  be	  
    commended	  for	  their	  commitment	  to	  the	  County	  and	  their	  patients.	  	  The	  vast	  
    majority	  of	  the	  fifty	  or	  so	  inmates	  I	  interviewed	  spoke	  well	  of	  the	  nursing	  staff,	  and	  I	  
    found	  those	  nurses	  with	  whom	  I	  interacted	  to	  be	  both	  competent	  and	  caring.	  	  While	  
    the	  inmates	  opinion	  of	  doctors	  was	  mixed,	  their	  most	  common	  complaint	  was	  that	  
    the	  doctors	  were	  rushed	  and	  did	  not	  take	  the	  time	  to	  explain	  things	  to	  them	  or	  
    answer	  their	  questions	  –	  this	  is	  consistent	  with	  my	  finding	  that	  the	  physicians	  
    historically	  have	  been	  stretched	  much	  too	  thin.	  	  	  
    	  
    In	  my	  professional	  opinion,	  the	  failure	  to	  provide	  adequate	  care	  is	  a	  direct	  result	  of	  
    decision	  by	  the	  County	  to	  cut	  funding	  for	  an	  essential	  and	  constitutionally	  mandated	  
    basic	  service.	  	  All	  that	  followed	  was	  completely	  predictable	  and	  completely	  
    preventable.	  	  The	  good	  news,	  then,	  is	  that	  it	  is	  also	  fixable.	  	  To	  that	  end,	  I	  provide	  
    both	  general	  and	  specific	  recommendations	  going	  forward.	  
    	  
    General	  Recommendations	  
    	  
    It	  is	  imperative	  that	  the	  Riverside	  County	  Board	  of	  Supervisors	  recognizes	  and	  acts	  
    upon	  the	  obligation	  of	  the	  County	  to	  provide	  adequate	  access	  to	  health	  services	  for	  
    inmates	  in	  the	  County	  jails	  as	  required	  by	  California	  law	  and	  the	  U.S.	  Constitution.	  	  I	  
    am	  encouraged	  to	  see	  that	  the	  Board	  has	  supported	  the	  recent	  efforts	  to	  improve	  
    access	  to	  care	  as	  I	  have	  described	  in	  this	  report,	  but	  is	  critical	  that	  this	  support	  be	  
    durable	  and	  ongoing.	  
    	  
    While	  recent	  efforts	  to	  improve	  care	  are	  laudable,	  the	  overall	  record	  of	  the	  County	  in	  
    the	  past	  five	  years	  is	  cause	  for	  concern.	  	  Going	  forward,	  the	  parties	  would	  be	  advised	  
    to	  develop	  mechanisms	  to	  guarantee	  ongoing	  support	  of	  health	  services	  
    commensurate	  with	  the	  ever	  changing	  needs	  of	  the	  Jail	  population.	  
    	  
    According	  to	  medical	  leadership	  in	  the	  department,	  the	  County	  has	  been	  supportive	  
    to	  individual	  and	  specific	  requests	  for	  funding	  to	  secure	  needed	  resources,	  but	  that	  
    funding	  is	  being	  doled	  out	  in	  a	  piecemeal	  fashion.	  	  It	  is	  essential	  that	  the	  department	  
    be	  provided	  with	  an	  appropriate	  and	  predictable	  overall	  budget	  to	  allow	  for	  proper	  
    long-­‐term	  planning.	  
    	  
    At	  the	  same	  time,	  effects	  of	  realignment	  must	  be	  considered.	  	  The	  County,	  along	  with	  
    all	  other	  counties	  in	  the	  state,	  must	  recognize	  and	  deal	  with	  the	  fact	  that	  the	  jails	  
    now	  house	  two	  different	  populations:	  	  the	  traditional	  jail	  population	  and	  the	  
    translocated	  prison	  population	  created	  by	  AB	  109.	  	  The	  facilities	  were	  designed	  for	  
    short-­‐term	  detention,	  but	  a	  growing	  population	  of	  inmates	  may	  spend	  years	  housed	  
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    in	  the	  county	  jails.	  	  This	  will	  require	  a	  rethinking	  of	  all	  detention	  programming,	  
    including	  medical.	  
    	  
    Specific	  Recommendations	  
    	  
    	  
    1.	  Accreditation	  status:	  	  
                   	  
    The	  department	  should	  move	  forward	  with	  the	  process	  of	  preparing	  for,	  applying	  for	  
    and	  securing	  accreditation	  with	  the	  National	  Commission	  on	  Correctional	  Care.	  	  	  
    	  
    If	  the	  department	  follows	  through	  with	  its	  current	  plan,	  I	  think	  the	  jail	  would	  be	  able	  
    to	  secure	  accreditation	  within	  a	  year	  or	  so.	  	  In	  addition	  to	  providing	  a	  standardized	  
    approach	  to	  improving	  the	  health	  delivery	  system,	  securing	  accreditation	  would	  do	  
    much	  to	  re-­‐establish	  trust	  in	  a	  department	  whose	  reputation	  has	  suffered,	  and	  
    would	  make	  a	  positive	  impression	  on	  the	  courts	  as	  it	  relates	  to	  the	  epidemic	  of	  court	  
    orders.	  
    	  
    	  
    2.	  	  Staffing:	  	  	  
    	  
    The	  department	  should	  follow	  through	  in	  restoring	  appropriate	  medical	  professional	  
    staffing	  levels,	  and	  then	  work	  to	  maintain	  them	  and	  adjust	  them	  to	  address	  changing	  
    needs.	  	  	  
    	  
    The	  department	  has	  made	  important	  strides	  in	  correcting	  staffing	  deficits	  that	  
    resulted	  from	  the	  draconian	  budget	  cuts	  of	  recent	  years,	  but	  by	  its	  own	  tracking,	  still	  
    needs	  to	  fill	  (at	  the	  time	  of	  the	  tracking	  report	  provided	  to	  me)	  62	  full	  time	  
    positions,	  mostly	  in	  nursing.	  If	  necessary,	  salary	  levels	  should	  be	  adjusted	  to	  make	  
    sure	  they	  are	  competitive	  with	  other	  jobs	  in	  the	  California	  correctional	  medicine	  
    market.	  	  Competitive	  salaries	  for	  board	  certified	  internal	  medicine	  or	  family	  
    medicine	  physicians	  working	  in	  correctional	  settings	  should	  be	  above	  $200,000	  
    annually	  and	  include	  continuing	  medical	  education	  support	  and	  health	  and	  
    retirement	  benefits.	  As	  board	  certification	  has	  become	  the	  community	  standard,	  I	  
    strongly	  recommend	  that	  the	  department	  actively	  recruit	  primary	  care	  physicians	  
    who	  are	  board	  certified	  in	  either	  Internal	  Medicine	  or	  Family	  Medicine.	  	  	  
    	  
    When	  target	  staffing	  levels	  are	  achieved,	  ongoing	  reassessment	  of	  changing	  needs	  
    and	  appropriate	  adjustments	  to	  staffing	  levels	  is	  essential.	  	  Key	  measures	  such	  as	  
    wait	  times	  to	  see	  provider	  and	  compliance	  with	  chronic	  care	  guidelines	  can	  be	  used	  
    to	  assess	  adequacy	  of	  staffing	  levels.	  
    	  
    	  
    	  
    	  
    	  
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    3.	  	  Physical	  space	  for	  medical	  care:	  	  
    	  
    The	  department	  should	  examine	  and	  consider	  options	  to	  develop	  newer	  and	  more	  
    suitable	  clinic	  space	  to	  support	  health	  operation;	  space	  should	  be	  large	  enough	  to	  
    accommodate	  clinical	  operations	  while	  also	  securing	  appropriate	  privacy	  for	  patients.	  
    	  
    With	  the	  increasing	  population	  and	  changing	  character	  of	  detention	  (longer	  
    sentences	  with	  the	  AB	  109	  population)	  combined	  with	  national	  trends	  in	  aging	  
    populations	  in	  jails,	  the	  department	  should	  consider	  options	  to	  develop	  newer	  and	  
    more	  suitable	  clinic	  space	  to	  support	  health	  operation.	  	  The	  clearest	  opportunity	  is	  
    in	  the	  new	  East	  County	  Detention	  Center.	  	  It	  would	  be	  advisable	  to	  consult	  closely	  
    with	  county	  correctional	  health	  staff	  on	  the	  plans	  for	  clinic	  space	  before	  breaking	  
    ground	  on	  this	  project.	  
    	  
    	  
    4.	  	  Infirmary	  or	  Intermediate	  Level	  of	  Care	  
    	  
    The	  department	  should	  explore	  options	  for	  developing	  at	  least	  one	  facility	  that	  could	  
    provide	  a	  higher	  level	  of	  medical	  care	  such	  as	  infirmary	  or	  sub-­‐acute	  levels	  of	  care.	  
    	  
    Currently,	  the	  department	  does	  not	  have	  any	  unit	  in	  any	  facility	  that	  is	  capable	  of	  
    providing	  for	  a	  higher	  level	  of	  care	  than	  that	  expected	  for	  an	  essentially	  healthy	  
    “ambulatory”	  or	  “community”	  population.	  	  This	  forces	  the	  department	  into	  situation	  
    where	  the	  only	  mechanism	  for	  providing	  any	  care	  that	  requires	  a	  higher	  level	  is	  
    through	  Emergency	  Rooms	  or	  the	  County	  Hospital.	  	  The	  department	  should	  
    consider	  the	  development	  of	  at	  least	  a	  small	  infirmary	  that	  could	  provide	  care	  such	  
    as	  simple	  intravenous	  medications	  or	  basic	  post-­‐operative	  wound	  care	  so	  that	  
    inmates	  are	  not	  kept	  in	  higher	  cost	  settings	  any	  longer	  than	  they	  need	  to	  be.	  	  It	  
    should	  be	  noted	  that	  the	  space	  would	  have	  to	  be	  appropriately	  designed	  to	  support	  
    this	  function	  and	  would	  likely	  involve	  new	  construction.	  
    	  
    	  
    5.	  	  Screening	  on	  Intake:	  
    	  
    The	  department	  should	  follow	  through	  with	  its	  plans	  to	  ensure	  that	  all	  newly	  arrived	  
    inmates	  are	  screened	  on	  arrival	  by	  licensed	  nursing	  staff.	  	  Similarly,	  all	  new	  arrivals	  
    should	  be	  screened	  for	  tuberculosis.	  
    	  
    In	  order	  to	  comply	  with	  NCCHC	  standards	  on	  screening	  and	  initial	  health	  
    assessment,	  the	  department	  has	  two	  options.	  	  In	  option	  one,	  a	  licensed	  nurse	  would	  
    screen	  all	  newly	  arrived	  inmates	  and	  those	  with	  problems	  identified	  by	  the	  nurse	  
    would	  be	  referred	  to	  licensed	  providers	  (nurse	  practitioners	  or	  physicians)	  as	  
    indicated.	  	  In	  option	  two,	  screening	  would	  continue	  to	  be	  done	  by	  trained	  non-­‐
    licensed	  deputies,	  but	  all	  inmates	  would	  be	  seen	  for	  a	  complete	  intake	  health	  
    assessment	  performed	  by	  an	  appropriately	  trained	  registered	  nurse	  within	  14	  days.	  	  	  
    	  
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    While	  both	  approaches	  would	  meet	  standard,	  I	  support	  the	  departments	  stated	  plan	  
    to	  move	  forward	  with	  universal	  screening	  by	  licensed	  nurses	  of	  all	  newly	  arrived	  
    inmates	  in	  accordance	  with	  the	  NCCHC	  “Full	  Population	  Assessment”	  option	  (J-­‐E-­‐
    04).	  
    	  
    While	  past	  procedures	  for	  tuberculosis	  likely	  meet	  minimum	  standards,	  I	  am	  
    supportive	  of	  the	  department’s	  newly	  implemented	  procedures	  for	  more	  
    comprehensive	  screening	  of	  this	  high	  risk	  population.	  	  Effective	  screening	  is	  
    important	  not	  only	  for	  the	  facility,	  but	  for	  the	  public	  health	  at	  large.	  
    	  
    	  
    6.	  	  Continuous	  Quality	  Improvement:	  
    	  
    The	  department	  should	  continue	  to	  develop	  a	  Continuous	  Quality	  Improvement	  
    program.	  
    	  
    Continuous	  Quality	  Improvement,	  recommended	  in	  May	  2011	  by	  IMQ,	  has	  only	  just	  
    started,	  but	  the	  fact	  that	  it	  has	  started	  is	  critically	  important.	  	  As	  the	  department	  
    steps	  up	  its	  CQI	  program,	  it	  may	  wish	  to	  confer	  with	  Riverside	  University	  Medical	  
    Center	  as	  that	  facility	  has	  technical	  expertise	  and	  experience	  in	  developing	  and	  
    deploying	  CQI	  programs.	  
    	  
    Information	  gleaned	  form	  well	  functioning	  CQI	  processes	  helps	  administrators	  
    improve	  both	  quality	  of	  care	  as	  well	  as	  efficiency	  of	  care	  and	  can	  help	  identify	  
    opportunities	  for	  cost	  containment.	  
    	  
    	  
    7.	  	  Utilization	  Management:	  
    	  
    The	  department	  should	  develop	  a	  utilization	  management	  process.	  
    	  
    Most	  inmates	  housed	  in	  correctional	  facilities	  are	  the	  sole	  responsibility	  of	  the	  
    detaining	  authority,	  an	  arrangement	  that	  makes	  most	  jail	  and	  prison	  health	  systems	  
    both	  the	  health	  provider	  and	  the	  insurer.	  	  Managed	  care	  approaches	  to	  allocating	  
    resources	  for	  high	  cost	  care	  have	  become	  an	  established	  mechanism	  for	  
    standardizing	  and	  controlling	  utilization	  of	  health	  resources.	  	  The	  department	  could	  
    consult	  with	  other	  detaining	  institutions	  both	  in	  the	  state	  and	  elsewhere	  to	  learn	  
    more	  about	  the	  utilization	  management	  process	  for	  incarcerated	  populations.	  	  	  
    	  
    8.	  Medical	  Records:	  
    	  
    The	  department	  should	  follow	  through	  with	  its	  plan	  to	  deploy	  a	  correctional	  Electronic	  
    Health	  Record	  and	  provide	  ongoing	  IT	  support	  to	  both	  the	  network	  infrastructure	  and	  
    IT	  support	  for	  end	  users	  of	  the	  software.	  
    	  
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    Based	  on	  a	  very	  brief	  demonstration	  of	  the	  EHR	  system	  that	  will	  soon	  be	  deployed,	  I	  
    am	  optimistic	  that	  it	  has	  the	  promise	  to	  dramatically	  improve	  documentation,	  
    communication,	  and	  continuity	  of	  care	  across	  a	  dispersed	  system,	  as	  well	  as	  
    allowing	  health	  administrators	  to	  better	  track	  and	  address	  shifting	  healthcare	  needs	  
    across	  multiple	  facilities.	  	  At	  the	  same	  time,	  it	  will	  only	  work	  if	  this	  system	  receives	  
    ongoing	  competent	  and	  timely	  IT	  support	  for	  the	  system.	  	  The	  contract	  signed	  by	  the	  
    County	  with	  the	  vendor	  does	  indeed	  address	  this	  aspect,	  but	  it	  will	  take	  time	  to	  
    ensure	  that	  the	  system	  does	  deploy	  properly,	  is	  modified	  according	  to	  facility	  needs	  
    and	  is	  maintained	  and	  improved	  in	  an	  ongoing	  basis.	  	  This	  will	  require	  ongoing	  
    evaluation	  and	  monitoring	  to	  verify	  successful	  deployment	  and	  ongoing	  support	  of	  a	  
    functioning	  EHR	  given	  the	  inherent	  complexity	  of	  these	  systems	  and	  the	  County’s	  
    mixed	  track	  record	  with	  EHR's.	  
    	  
    9.	  	  Chronic	  Disease	  Management	  
    	  
    The	  Department	  should	  develop	  a	  chronic	  disease	  management	  process	  that	  
    references	  established	  guidelines	  (both	  correctional	  and	  community)	  for	  the	  
    management	  of	  common	  chronic	  conditions	  such	  as,	  but	  not	  limited	  to,	  diabetes	  
    mellitus,	  asthma,	  hypertension,	  HIV	  and	  hepatitis	  C.	  
    	  
    A	  functioning	  chronic	  disease	  program	  identifies	  inmates	  with	  chronic	  diseases	  and	  
    follows	  them	  proactively	  with	  documented	  treatment	  plans	  based	  on	  widely	  
    accepted	  clinical	  guidelines	  (including	  but	  not	  limited	  to	  those	  referenced	  by	  the	  
    NCCHC	  and	  Federal	  Bureau	  of	  Prisons).	  	  With	  the	  deployment	  of	  an	  Electronic	  
    Health	  Record,	  one	  of	  the	  major	  barriers	  to	  tracking	  inmates	  with	  chronic	  disease	  is	  
    removed.	  	  This	  provides	  an	  excellent	  opportunity	  for	  the	  department	  to	  develop	  and	  
    deploy	  a	  chronic	  disease	  program.	  
    	  
    	  
    10.	  Timely	  Access	  to	  Care	  
    	  
                  a.	  Timely	  access	  to	  facility	  physicians-­‐	  The	  Department	  should	  adjust	  staffing	  in	  
                  order	  to	  accommodate	  timely	  access	  to	  care	  consistent	  with	  the	  timely	  access	  
                  benchmarks	  established	  by	  the	  NCCHC.	  
                  	  
                  The	  current	  staffing	  plan,	  if	  fully	  realized,	  is	  likely	  to	  solve	  this	  problem	  of	  
                  timely	  access	  to	  care	  within	  the	  facilities.	  	  CQI	  approaches	  should	  be	  used	  to	  
                  monitor	  wait	  times	  so	  that	  staffing	  patterns	  can	  be	  adjusted	  based	  on	  need.	  
                  	  
                  	  
                  b.	  Timely	  access	  to	  specialty	  care	  –The	  Department	  should	  continue	  to	  work	  
                  with	  the	  Riverside	  University	  Medical	  Center	  to	  provide	  more	  timely	  access	  to	  
                  specialty	  care	  for	  serious	  medical	  problems.	  	  If	  the	  RUMC	  is	  unable	  to	  provide	  
                  timely	  access	  to	  care,	  the	  Department	  must	  secure	  those	  specialty	  services	  from	  
                  other	  community	  providers	  as	  the	  community	  standard	  for	  timeliness	  is	  
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               established	  by	  the	  entire	  community,	  not	  by	  the	  standard	  set	  by	  department’s	  
               chosen	  community	  partner.	  
               	  
               Providing	  timely	  access	  to	  specialty	  consultation	  should	  probably	  be	  
               approached	  on	  two	  different	  tracks	  simultaneously.	  	  The	  department	  should	  
               continue	  to	  work	  with	  the	  County	  hospital	  in	  order	  to	  prioritize	  and	  
               accommodate	  inmate	  specialty	  care	  needs	  in	  a	  timely	  manner.	  	  Whenever	  the	  
               hospital	  is	  able	  to	  provide	  care	  in	  a	  timely	  manner,	  it	  is	  likely	  to	  be	  the	  most	  
               cost-­‐effective	  option.	  	  However,	  the	  department	  should	  also	  explore	  
               establishing	  alternative	  providers	  to	  be	  used	  when	  the	  County	  hospital	  is	  
               unable	  to	  provide	  the	  care	  in	  a	  timely	  manner.	  	  	  
               	  
               Also,	  a	  department	  review	  of	  off-­‐site	  specialty	  consultations	  (from	  the	  last	  
               annual	  report)	  reveals	  that	  eye	  clinics	  account	  for	  a	  large	  proportion	  of	  
               consultations	  (roughly	  a	  quarter	  of	  the	  1622	  annual	  off-­‐site	  consultations).	  	  
               As	  one	  of	  the	  greatest	  costs	  associated	  with	  specialty	  care	  is	  actually	  the	  
               security	  costs	  of	  transporting	  and	  guarding	  the	  inmate	  patients,	  it	  may	  be	  
               more	  cost	  effective	  to	  contract	  with	  outside	  providers	  to	  provide	  care	  on-­‐site	  
               in	  the	  facility.	  	  Eye	  clinics	  do	  require	  some	  special	  equipment,	  so	  it	  is	  hard	  to	  
               say	  if	  on-­‐site	  care	  can	  be	  provided	  in	  a	  cost-­‐effective	  manner,	  but	  the	  costs	  of	  
               transport	  and	  security	  high	  enough	  that	  on-­‐site	  care	  even	  with	  specialized	  
               equipment	  may	  less	  expensive.	  
    	  
    11.	  Telemedicine	  
    	  
    Given	  the	  obstacles	  in	  moving	  inmates	  across	  a	  geographically	  dispersed	  system,	  the	  
    Department	  should	  explore	  Telemedicine	  as	  an	  option	  for	  access	  to	  sub-­‐specialty	  
    consultation.	  
    	  
    With	  improvements	  in	  technology	  and	  the	  lowering	  of	  costs,	  telemedicine	  is	  
    becoming	  more	  common	  both	  in	  and	  out	  of	  correctional	  environments.	  	  
    Telemedicine	  is	  a	  particularly	  useful	  tool	  in	  correctional	  settings	  with	  facilities	  that	  
    are	  geographically	  remote	  from	  community	  health	  settings	  as	  is	  the	  case	  in	  the	  
    Riverside	  County	  system.	  	  	  
    	  
    12.	  Physical	  Disability	  Issues	  
    	  
    The	  Department	  should	  review	  the	  handling	  of	  inmates	  with	  disabilities	  who	  are	  
    currently	  confined	  to	  restrictive	  units	  not	  for	  the	  purposes	  of	  accommodating	  their	  
    special	  needs	  per	  se	  or	  for	  the	  purposes	  of	  providing	  a	  higher	  level	  of	  care,	  but	  for	  
    administrative	  convenience	  in	  meeting	  legitimate	  security	  concerns.	  	  	  
    	  
    The	  department	  should	  consult	  with	  other	  facilities	  in	  the	  state	  or	  country	  to	  learn	  
    about	  less	  restrictive	  approaches	  to	  dealing	  with	  inmates	  with	  disabilities.	  
    	  
    	  
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    13.	  Pharmacy	  Services	  
    	  
    The	  Department	  should	  consider	  increasing	  on-­‐site	  pharmacy	  services	  at	  the	  jails	  from	  
    the	  current	  five	  days	  a	  week	  to	  seven	  days	  a	  week.	  	  The	  department	  should	  liberalize	  
    the	  use	  of	  Keep	  on	  Person	  medications	  –	  especially	  for	  inhalers	  and	  medications	  that	  
    are	  available	  over-­‐the-­‐counter	  in	  the	  community.	  
    	  
    The	  Riverside	  County	  Jails	  operate	  and	  admit	  new	  inmates	  twenty-­‐four	  hours	  a	  day	  
    seven	  days	  a	  week.	  	  Although	  there	  are	  back-­‐up	  procedures	  for	  weekends	  and	  
    holidays	  including	  use	  of	  stock	  medicines	  at	  each	  facility	  (a	  practice	  I	  support),	  
    regular	  pharmacy	  support	  seven	  days	  a	  week,	  or	  minimally	  six	  days	  a	  week,	  would	  
    decrease	  the	  risk	  of	  interruptions	  in	  continuity	  of	  medical	  treatments	  
    	  
    Keep	  on	  Person	  (KOP)	  medications	  can	  improve	  asthma	  care	  as	  well	  as	  decrease	  
    utilization	  of	  nursing	  resources	  for	  routine	  care	  involving	  common	  medications	  that	  
    are	  over-­‐the-­‐counter	  in	  the	  community.	  
    	  
    The	  department	  must	  develop	  a	  process	  to	  provide	  scheduled	  medications	  for	  
    serious	  and/or	  chronic	  health	  conditions	  for	  inmates	  who	  are	  in	  transit	  or	  transport	  
    between	  facilities,	  to	  and	  from	  hospitals	  and	  clinics	  and	  courts.	  	  This	  can	  be	  
    accomplished	  in	  many	  cases	  by	  providing	  unit	  dosing	  or	  blister	  packs	  of	  non-­‐
    controlled	  medications	  to	  cover	  the	  transport	  period	  directly	  to	  the	  inmate	  for	  self-­‐
    administration.	  
    	         	  
    14.	  Sick	  Call	  
    	  
    The	  department	  should	  review	  Sick-­‐Call	  procedures	  to	  remove	  unnecessary	  barriers	  to	  
    timely	  access	  to	  care.	  	  
    	  
    A	  nurse	  should	  evaluate	  patients	  with	  symptomatic	  complaints	  in	  a	  timely	  manner	  
    as	  defined	  by	  the	  guidelines	  established	  by	  the	  NCCHC	  Jail	  Standards.	  Those	  needing	  
    consultation	  with	  a	  nurse	  practitioner	  or	  physician	  should	  not	  be	  subjected	  to	  
    unreasonably	  long	  waits.	  	  Attempts	  should	  be	  made	  to	  see	  patients	  as	  soon	  as	  
    possible,	  and	  the	  practice	  of	  making	  inmates	  arbitrarily	  wait	  a	  specified	  period	  to	  be	  
    evaluated	  is	  not	  defensible	  and	  should	  be	  abandoned.	  	  Also,	  while	  a	  written	  request	  
    for	  health	  services	  (a	  “kite”)	  is	  a	  reasonable	  option,	  it	  should	  not	  be	  a	  requirement	  to	  
    request	  care.	  	  For	  tracking	  purposes,	  face-­‐to-­‐face	  requests	  can	  be	  logged	  by	  nursing	  
    staff.	  
    	  
    15.	  Grievances	  
    	  
    Grievances	  should	  be	  categorized	  and	  analyzed	  as	  part	  of	  a	  Continuous	  Quality	  
    Improvement	  process.	  
    	  
    The	  facilities	  continue	  to	  experience	  high	  numbers	  of	  medical	  grievances.	  	  Although	  
    these	  can	  be	  a	  lagging	  indicator	  in	  an	  environment	  that	  is	  experiencing	  
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    improvements,	  a	  systematic	  review	  of	  these	  complaints	  can	  provide	  critical	  
    information	  to	  guide	  the	  administration	  in	  areas	  that	  might	  require	  more	  attention.	  	  
    Systematic	  analysis	  of	  grievances	  should	  be	  part	  of	  a	  functioning	  Continuous	  Quality	  
    Improvement	  program.	  
    	  
    16.	  Dental	  
    	  
    Dental	  Clinics	  should	  be	  scheduled	  and	  staffed	  to	  allow	  for	  timely	  access	  to	  
    appropriate	  dental	  care.	  
    	  
    The	  department	  should	  look	  at	  dental	  staffing	  and	  clinic	  scheduling	  to	  ensure	  timely	  
    access	  to	  care.	  	  For	  remote	  or	  smaller	  jails,	  arrangements	  for	  community	  
    consultation	  should	  be	  considered	  for	  inmates	  with	  acute	  dental	  issues	  (such	  as	  
    dental	  abscesses)	  when	  an	  in-­‐facility	  dental	  consultation	  cannot	  be	  provided	  in	  a	  
    timely	  manner.	  
    	  
    17.	  Segregation	  
    	  
    The	  department	  should	  establish	  procedures	  to	  ensure	  that	  inmates	  held	  in	  isolation	  
    and	  segregation	  have	  daily	  assessments	  by	  medical	  personnel	  and	  institute	  a	  logging	  
    procedure	  for	  those	  encounters.	  
    	  
    Inmates	  held	  in	  isolation	  face	  increased	  adverse	  physical	  and	  mental	  health	  risks	  
    while	  simultaneously	  experiencing	  increased	  barriers	  in	  access	  to	  care.	  	  NCCHC	  
    standards	  require	  that	  health	  staff	  must	  check	  inmates	  in	  segregation	  or	  isolation	  
    daily.	  	  Facility	  staff	  assured	  me	  that	  nursing	  staff	  was	  checking	  inmates	  in	  
    segregation	  on	  a	  daily	  basis,	  but	  they	  were	  unable	  to	  produce	  any	  log	  or	  
    documentation	  of	  this	  process.	  	  Clearer	  policies	  with	  a	  logging	  procedure	  would	  
    better	  document	  that	  the	  facilities	  are	  meeting	  this	  standard	  of	  care.	  
    	  
    18.	  Restraints	  
    	  
    Policies	  and	  procedures	  for	  health	  care	  monitoring	  of	  inmates	  held	  in	  restraints	  should	  
    be	  developed	  in	  compliance	  with	  NCCHC	  standards.	  
    	  
    Use	  of	  restraints	  carry	  significant	  risks	  to	  the	  health	  and	  well	  being	  of	  inmates.	  	  
    Standards	  dictate	  that	  health	  care	  staff	  must	  continuously	  monitor	  inmates	  held	  in	  
    restraints.	  	  This	  is	  critically	  important	  for	  facilities	  that	  use	  restraint	  chairs,	  as	  these	  
    chairs	  have	  been	  associated	  with	  risk	  of	  blood	  clot	  formation	  and	  high	  risk	  of	  
    pulmonary	  emboli	  and	  even	  death.	  
    	  
    19.	  Impact	  of	  a	  high	  security	  environment	  on	  health	  care	  
    	  
    The	  department	  should	  consult	  with	  other	  jail	  facilities	  in	  the	  state	  and	  in	  the	  nation	  to	  
    learn	  about	  less	  restrictive	  detention	  practices	  that	  do	  not	  compromise	  facility	  safety	  
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    and	  security,	  particularly	  for	  those	  inmates	  expected	  to	  remain	  incarcerated	  for	  longer	  
    periods	  of	  time.	  
    	  
    Environment	  of	  care	  can	  affect	  the	  health	  and	  well	  being	  of	  both	  staff	  and	  inmates.	  	  
    Corrections	  as	  a	  field	  continues	  to	  evolve,	  and	  this	  time	  of	  review	  provides	  an	  
    opportunity	  for	  the	  department	  to	  learn	  about	  alternative	  approaches	  to	  detention	  
    that	  involve	  risk-­‐stratification	  of	  the	  population.	  	  While	  this	  particular	  
    recommendation	  involves	  the	  security	  domain,	  it	  is	  relevant	  to	  the	  health	  care	  
    insofar	  as	  it	  affects	  removal	  of	  barriers	  in	  access	  to	  care	  and	  opportunities	  to	  
    promote	  healthier	  lifestyles	  with	  more	  activity	  and	  freedom	  of	  movement	  for	  
    appropriately	  screened	  inmates.	  	  Many	  other	  institutions	  have	  demonstrated	  that	  
    less	  restrictive	  opportunities	  for	  lower	  risk	  inmates	  can	  be	  deployed	  without	  
    compromise	  to	  the	  safety	  or	  security	  of	  the	  institution.	  
    	  
    20.	  Review	  of	  In	  Custody	  Deaths	  
    	  
    Documentation	  provided	  regarding	  in	  custody	  deaths	  does	  not	  meet	  compliance	  
    with	  the	  NCCHC	  standard	  regarding	  timely	  review.	  	  The	  department	  should	  
    prioritize	  implementing	  standardized	  death	  reviews	  as	  described	  by	  the	  NCCHC	  Jail	  
    Standards	  within	  30	  days	  of	  the	  death	  and	  keep	  careful	  records	  of	  those	  reviews	  in	  
    order	  to	  identify	  and	  remedy	  preventable	  causes	  of	  death.	  
    	  
    	  
    	  
    	  
    	  
    The	  Issue	  of	  Correctional	  Health	  Care	  Cost	  
    	  
    As	  the	  history	  of	  trouble	  with	  detention	  health	  services	  in	  Riverside	  County	  is	  
    largely	  as	  story	  about	  poorly	  conceived	  directives	  to	  control	  the	  cost	  and	  the	  
    disproportionate	  budget	  impact	  of	  detention	  health,	  it	  is	  important	  to	  consider	  the	  
    broader	  issue	  of	  rising	  health	  care	  cost	  and	  the	  impact	  of	  those	  rising	  costs	  on	  
    correctional	  health	  settings.	  	  	  
    	  
    For	  much	  of	  the	  past	  decade,	  all	  health	  care	  costs	  in	  the	  U.S.	  (in	  the	  community	  and	  
    in	  corrections)	  have	  been	  rising	  for	  a	  variety	  of	  reasons.	  	  Costs	  for	  physician	  
    services,	  hospitalization	  and	  drugs	  have	  all	  gone	  up.	  	  Corrections	  has	  felt	  these	  
    increases	  more	  acutely	  in	  part	  because	  the	  correctional	  populations	  concentrate	  
    individuals	  requiring	  high	  cost	  care,	  including	  those	  with	  mental	  illness,	  HIV	  and	  
    hepatitis	  C	  (all	  of	  which	  have	  extremely	  high	  drug	  costs)	  as	  well	  as	  many	  other	  
    chronic	  health	  conditions	  including	  aging	  populations.	  
    	  
    According	  to	  publically	  available	  FY2014/2015	  budget	  figures,	  the	  most	  recent	  
    annual	  expenditures	  for	  detention	  health	  services	  by	  Riverside	  County	  were	  
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    $19,488,022.4	  	  For	  an	  average	  daily	  population	  of	  roughly	  3800	  adults,	  this	  
    translates	  roughly	  to	  an	  annualized	  per	  inmate	  health	  cost	  of	  $5000.	  	  To	  put	  that	  in	  
    some	  perspective,	  the	  average	  annual	  per	  inmate	  cost	  of	  heath	  care	  for	  inmates	  in	  
    2011	  nationwide	  was	  $6047	  per	  inmate	  per	  year.5	  	  	  
    	  
    In	  the	  California	  state	  correctional	  system,	  the	  cost	  per	  inmate	  has	  now	  risen	  to	  
    roughly	  $18,000	  per	  inmate	  per	  year.	  	  It	  was	  $7747	  in	  2005,	  prior	  to	  the	  Federal	  
    Receivership.6	  	  (Per	  inmate	  health	  spending	  is	  prisons	  is	  generally	  somewhat	  higher	  
    than	  for	  jails,	  but	  accurate	  jail	  data	  is	  hard	  to	  come	  by	  so	  this	  is	  still	  the	  best	  
    reference	  point.)	  	  	  
    	  
    The	  rising	  costs	  of	  incarceration	  in	  general,	  and	  the	  cost	  of	  providing	  health	  care	  to	  
    those	  incarcerated,	  is	  a	  growing	  cause	  for	  concern	  across	  the	  nation.	  	  Efforts	  to	  
    contain	  health	  costs	  through	  improved	  efficiency	  of	  detention	  health	  operations	  are	  
    essential,	  but	  even	  with	  those	  efforts,	  the	  costs	  of	  incarceration	  will	  remain	  high.	  
    	  
    Under	  the	  Affordable	  Care	  Act,	  some	  believe	  there	  may	  be	  new	  opportunities	  in	  
    correctional	  settings	  recouping	  some	  health	  costs	  in	  new	  ways,	  but	  those	  
    mechanisms	  remain	  unclear	  and	  unproven	  and	  in	  the	  near	  term,	  they	  cannot	  be	  
    relied	  upon.	  
    	  
    It	  is	  important	  to	  understand	  that	  the	  two	  factors	  driving	  detention	  health	  costs	  
    most	  are	  1)	  the	  rising	  number	  of	  individuals	  who	  are	  incarcerated	  and	  2)	  the	  rising	  
    cost	  of	  health	  care	  everywhere.	  	  The	  Riverside	  County	  Correctional	  Health	  Services	  
    has	  no	  control	  over	  either	  of	  these	  factors.	  
    	  
    There	  is	  a	  growing	  consensus	  nationally	  that	  the	  only	  way	  to	  bring	  down	  costs	  of	  
    incarceration	  is	  to	  reduce	  our	  dependence	  on	  incarceration.	  	  While	  the	  practicality	  
    of	  that	  option	  is	  beyond	  the	  scope	  of	  this	  report,	  it	  is	  important	  to	  note	  that	  there	  
    are	  medically	  based	  alternatives	  to	  incarceration	  including	  community	  based	  

    	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
    4	  County	  of	  Riverside	  2014/2015	  Recommended	  Budget.	  	  Available	  at:	  

    http://countyofriverside.us/Portals/0/Government/Budget%20Information/2014-­‐
    2015%20Recommended%20Budget/BudgetDetail.pdf	  
    	  
    5	  Pew	  Charitable	  Trusts/	  MacArthur	  Foundation.	  	  State	  Prison	  Health	  Care	  Spending.	  

    July	  2014.	  	  Available	  at:	  
    http://www.pewtrusts.org/~/media/Assets/2014/07/StatePrisonHealthCareSpen
    dingReport.pdf	  
    	  
    6	  Prison	  Legal	  News.	  	  California	  Prison	  Healthcare	  Costs	  Soar	  Under	  Federal	  

    Receiver.	  	  October	  10,	  2014.	  	  Available	  at:	  
    https://www.prisonlegalnews.org/news/2014/oct/10/california-­‐prison-­‐
    healthcare-­‐costs-­‐soar-­‐under-­‐federal-­‐receiver/	  
    	  
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    treatment	  for	  mental	  illness	  and	  addiction	  that	  have	  been	  used	  successfully	  to	  divert	  
    appropriate	  individuals	  and	  to	  reduce	  recidivism.	  
    	  
    What	  is	  within	  the	  scope	  of	  this	  report	  to	  this	  report	  is	  the	  fact	  that	  while	  rising	  jail	  
    health	  care	  costs	  are	  a	  compelling	  and	  important	  fiscal	  issue	  with	  profound	  
    implications	  for	  other	  public	  programs,	  cost	  alone	  can	  never	  be	  used	  to	  justify	  
    cutting	  health	  care	  services	  to	  inmates	  below	  the	  minimally	  accepted	  constitutional	  
    or	  statutory	  levels.	  
    	  
    Conclusion	  
    	  
    As	  a	  direct	  result	  of	  drastic	  budget	  cuts	  to	  the	  medical	  program	  in	  the	  Riverside	  
    County	  Jails	  over	  five	  years	  ago,	  medical	  services	  were	  severely	  adversely	  impacted.	  	  
    In	  spite	  of	  very	  recent	  and	  significant	  efforts,	  at	  this	  time,	  medical	  care	  at	  the	  
    Riverside	  County	  Jails	  does	  not,	  in	  the	  opinion	  of	  this	  expert,	  meet	  minimal	  
    constitutional	  standards	  and	  poses	  a	  significant	  risk	  of	  serious	  harm	  to	  inmates	  
    confined	  to	  jail.	  
    	  
    In	  my	  opinion,	  the	  plan	  for	  reconstituting	  a	  functional	  and	  minimally	  acceptable	  
    health	  care	  program	  outlined	  to	  me	  by	  the	  County	  Correctional	  Health	  Services	  
    leadership	  is	  well	  thought	  out	  and	  promising.	  	  That	  plan	  deserves	  the	  full	  support	  of	  
    the	  County	  with	  appropriate	  dedicated	  funding	  as	  required.	  	  	  
    	  
    Given	  the	  history	  and	  record	  of	  the	  County	  in	  voluntarily	  meeting	  its	  constitutional	  
    obligations	  to	  jail	  inmates	  in	  the	  area	  of	  healthcare,	  I	  recommend	  that	  any	  consent	  
    agreement	  include	  ongoing	  monitoring	  and	  mechanisms	  for	  enforcement	  of	  such	  an	  
    agreement	  in	  order	  to	  ensure	  the	  County	  does	  not	  waiver	  in	  or	  abandon	  its	  current	  
    commitment	  to	  establishing	  and	  maintaining	  constitutionally	  defensible	  medical	  
    care	  for	  the	  individuals	  it	  detains.	  
    	  
    This	  revision	  or	  the	  initial	  draft	  report,	  now	  final	  with	  the	  exception	  noted	  below,	  
    respectfully	  submitted	  to	  Counsel	  for	  the	  County	  of	  Riverside	  and	  the	  Counsel	  for	  
    the	  Plaintiffs	  in	  the	  matter	  of	  Gray	  v.	  County	  of	  Riverside	  on	  July	  15,	  2015.	  
    	  
    	  
    	  

                                   	  
    Scott	  A.	  Allen,	  MD	  
    	  
    	  
    Note:	  	  This	  draft	  submitted	  is	  missing	  analysis	  of	  medication	  administration	  
    practices	  and	  issues	  relating	  to	  identifying	  medication	  interactions	  between	  medical	  
    and	  psychiatry	  as	  that	  analysis,	  which	  requires	  coordination	  between	  myself	  and	  Dr.	  
    Gage,	  has	  not	  been	  completed	  at	  the	  time	  of	  the	  submission	  of	  this	  report.	  
